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          In the' District Court of Appeal
                                       FIRST DISTRICT
                                         of Florida



                                                               CASE NO.     2000-2753-CFA




                                                               APPEAL DOCKET lD02-4788
                                                               VOLUME I



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                          APPEAL FROM THE CIRCUIT COURT                                rr.

                              8th JUDICIAL CIRCUIT FOR
                            ALACHUA COUNTY, FLORIDA


FOR APPELLANT                                          FOR APPELLEE
HONORABLE C. RICHARD PARKER                           HONORABLE ROBERT A.
PUBUC DEFENDER                                        BUTIERWORTH
POST OFFICE BOX 2820                                  ATTORNEY GENERAL'S OFFICE
GAINFSVILLE, FLORIDA 32602                            THE CAPITOL
                                                      DEPARTMENT OF LEGAL AFFAIRS
                                                      CRIMINAL APPEAL SECTION
                                                      TALLAHASSEE, FLORIDA 32399-1050


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                 "
                                             IN THE CIRCUIT COURT
                                             OF THE EIGHTH
                                             JUDICIAL CIRCUIT, IN
                                             AND FOR ALACHUA
                                             COUNTY, FLORIDA

BRIAN PATRICK HERIlHY

           Appellant

VS.


                                             CASE NO.2000-2753-CFA

                                             APPEAL NO.1D02-4788

STATE OF FLORIDA
           Appellee




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prgrm name*
  Date: 11/25/2002                                                         Page: 1
  Time: 11:43:54                                                           *prgrm name*
                      J.K. II BUDDY II IRBY, CLERK OF THE COURT
                               ALACHUA COUNTY, FLORIDA
'------------------------------------------------------------------------------­
:ASE #: 2000-02753-CFA                                                          PAGE: 1

 -----------------------DEFENDANT NAME INFORMATION--------------------------­
    TYPE --: o
    NAME --: HERLIHY, BRIAN PATRICK                         SUFFIX
    ADDRESS: 19401 NW 10TH ST
    ADDRES2:
    CITY --: PEMBROOKE PINES                 STATE: FL      ZIP -------: 33029
    ST ID#: 03796298                                        DOB - - - - - - - : . ; ;'    a
    PLACE OF BIR> USA (UNITED STATES OF AMERICA)
    CITIZENSHIP: 1                   RACE ----: W           SEX -------. M          HGT: 510
    HAIR COLOR -: BRO                EYE COLOR: BRO         WEIGHT ----: 185
    DL/ST NO ---: FL H640075703710
    SOC SEC NO -'                    DIST MRKS: SCAR OVER   RT EYE
    DEF STATUS -:                    STAT DATE:
    EMPLY/SCHL -: ALTERNATE PH #                            TEL # -----: 3056210420
    COMMENT - - - -: UPD 06- 05 - 2001 " LC
    FBI # ------.                                           OPT OF CORR:


 ----------------------------- CASE INFORMATION ------------------------------­
    CASE NO: 200002753CFA DATE FILE W/CLERK: 08102000 S.A. NO----:
    CASE CROSS REF NO:                               PUB DEF LIEN: GPDG

                                   ARREST INFORMATION -----------------------------­
    BK DATE-: 03152002               BK NO---: 200200003610 ARST AGCY> ASO
    OFF LOC->                                                      ARST DT-: 0810200
    OFFCR NO:                        CUST LOC> DEPARTMENT OF THE JAIL

 ---------------------------- COURT INFORMATION ------------------------------­
    NXT CRT DATE--: 09092002
    COURT TYPE----> DAY CERTAIN TRIAL                JUDGE> 1
    DEF TYP/CNSL--> 2/1069 GROLAND, GORDON H
    PROS ATTY-----> 0076   SINGER, JEANNE M
    SPDY TRIAL CMP: 02062001    PTI LGTH:     MTHS   DEFRD PROS LGTH:     MTHS

 ------------------------- POST SENTENCE INFORMATION -------------------------­
    MSG TYPE-------: P       APPEAL FILED: 11222002    MANDATE DATE:
    REOPENED REASON: V       REOPENED DTE: 06052001    CLOSED DATE-: 11082002

                                    FINE INFORMATION
      FINE ASSESSED:      314.00    FINE PD/ADJ:             .00   FINE BALANCE:          314.
      REST ASSESSED:         .00    REST PD/ADJ:             .00   REST BALANCE:
            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 11 of 121
'prgrrn name *
   Date: 11/25/2002                                                                Page: 2
   Time: 11:43:54                                                                  *prgrrn name*
                               J. K.   "BUDDY" IRBY, CLERK OF THE COURT
                                         ALACHUA COUNTY, FLORIDA
--------------------------------------------------------------------------------
:ASE #: 2000-02753-CFA                                                             PAGE: 2
 ** BOND **-------------------------------------------------------------------­
 NUMBER ISEQ PSEQ TYPE   AMOUNT STAT POSTED     RETURNED   JUDGMENT SATISFCT'N
119603      000           BB     $50,000.00    RL 10/16/2000 05/16/2001
00118713B   000           BB     $50,000.00    RL 06/11/2001

 ** BENCH WARRANT / CAPIAS ** ------------------------------------------------­
      B/C ORDERED     ISSUED     SERVED   RECALLED    STATUS      JUDGE
      CP 08/29/2000 08/29/2000 08/31/2000                            EXECUTED     CATES, ROBER
      CP 05/14/2001 05/15/2001 06/05/2001                            EXECUTED     LOTT, MARTHA
      CP 07/20/2001 07/20/2001 03/14/2002                            EXECUTED     TURNER, LARR
                    .:>                ~.

 ** COURT EVENT HISTORY------------------------------------------------------­
    ISEQ PSEQ        TYPE          DATE    TIME    LOC       JUDGE
                  BOND HEARING                  10/17/2000   01:30   2E   CHANCE, CHESTER
                  CASE MANAGEMENT               12/18/2000   01:30   3A   CHANCE, CHESTER
                  CASE MANAGEMENT               01/17/2001   01:30   3A   CHANCE, CHESTER
                  CASE MANAGEMENT               02/19/2001   01:30   3A   CHANCE, CHESTER
                  CASE MANAGEMENT               03/19/2001   01:30   3A   LOTT, MARTHA AN
                  PRE TRIAL CONFERENCE          02/20/2002   01:30   3D   LOTT, MARTHA AN
                  PRE TRIAL CONFERENCE          07/17/2002   01:30   3D   LOTT, MARTHA AN.
                  TRIAL STATUS CONF             09/04/2002   02:00   3D   LOTT, MARTHA AN
                  JURY SELECTION                09/09/2002   09:00   3D   LOTT, MARTHA AN
                  DAY CERTAIN TRIAL             09/09/2002   09:00   4A   LOTT, MARTHA AN
prgrm name*
  Date: 11/25/2002
  Time: 11:43:54
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                        J.K. "BUDDyn IRBY, CLERK OF THE COURT
                               ALACHUA COUNTY, FLORIDA
-------------------------------------------------------------------------------
~SE   #: 2000-02753-CFA                                            PAGE: 3
 ------------------------ INITIAL CHARGE INFORMATION ------------------------­
      STATUS------>    ARRESTED       CHRG SEQ NO-----:      001
      OBTS NO-----:    0102021473     CITATION NO-----:
      DATE OF OFF-:    08102000       OFFENSE CODE---->      2196
      NCIC CODE---:    0912           LEVEL/DEGREE----:      F/C
      STATUTE NO--:    78204 1A       MURDER
      ACTIVITY---->                   GEN OFF CHAR----:      N
      WEAPONS----->                   DRUG TYPE------->
      RANGE------->                   AMOUNT----------:      000000
      UNIT-------->                   WORTHLESS CK AMT:      00000000



 ----------------------- PROSECUTOR CHARGE INFORMATION ----------------------­
      STATUS------>    SAME           CHRG SEQ NO-----: 001
      OBTS NO-----:    0102021473     S. A. FILE DATE-: 08292000
      FNL DEC DATE:    08292000       FINAL ACTION----> FILED
      DATE OF OFF-:    08102000       OFFENSE CODE----> 2192
      NCIC CODE---:    0912           LEVEL/DEGREE----: F/C
      STATUTE NO--:    78204 1A       MURDER FIRST DEGREE
      ACTIVITY---->                   GEN OFF CHAR----: N
      WEAPONS----->                   DRUG TYPE------->
      RANGE---~--->                   AMOUNT----------: 000000
      UNIT-------->                   WORTHLESS CK AMT: 00000000


                                                                   C SEQ: .001
 -------------------------- COURT CHARGE INFORMATION ------------------------­
      MANSLAUGHTER
      STATUS------->   REDCD          DATE OF OFF----: 08102000 OBTS NO: 0102021473
      OFFENSE CODE->   2198           NCIC CODE------: 0909     LEV/DEG: F/S
      STATUTE NO---:   78207
      ACTIVITY----->                  GEN OFF CHAR---:   N        WEAPONS>
      DRUG TYPE---->                  RANGE---------->            AMOUNT-: 000000
      UNIT--------->                  APPEARANCE----->   03       CONT--->
      CRT DISP DATE:   11082002       CRT ACT TAKEN-->   ADJUDICATED GUILTY
      TRIAL TYPE---:   2              FINAL PLEA----->   NOT GUILTY
      VERDICT------>   GJ             REMANDED?------:
      PSI?---------:                  PSI RETURN DATE:    00000000
      COMMENT------:
      Date: 11/25/2002
      Time: 11:43:54
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    prgrm name*
                                                                               Page: 4
                                                                               *prgrm name*
                          J.K. "BUDDYII IRBY, CLERK OF THE COURT
7
                                 ALACHUA COUNTY, FLORIDA
    ______________________________________________________________________________              _




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     ------------------------- SENTENCE INFORMATION CNT: 001
        DEF TYP/CNSL> 2 1069       GROLAND, GORDON H
        PROS ATTY---> 0076         SINGER, JEANNE M
        JUDGE-------> MAL          LOTT, MARTHA ANN
        IMPOSED DTE-: 11082002     EFFECTIVE DATE-: 11082002 JURIS RET-:
        ASMT AMOUNT-> 00031400     ASMT BAL-:     314.00     GDLNS WVD--:
        REST AMOUNT-:              REST BAL-:        .00     REST D/DATE:
        CNTY OF SUPV> ALACHUA      SUPV RATE:                SUPV AMOUNT:
        CONF TYPE---> STATE PRISON CONF LGTH:    15 y m d CONF SUSP:      y m
        COM SRV HRS - :            COM CTL LGTH:    y m d DRG CNF TRM: OOOyOOmOO
        PROB TYPE--->              PROB LENGTH-:    y m d PRB TRM DT:
        SENT TRM DTE:              DL SUSP/REV-: OOyOOmOOd CR TIME SRV: 0347
        STATUS------>              REF CASE/SEQ NO:
        SENTENCE PROVISIONS---------->
        SPECIAL SENTENCE PROVISIONS-->
        ADD SENT/CMT:                                         SUPV BAL-:      .0


        *   * C RIM I N A L    FIN E S      ASS E SSM E N T       D A T A   *   *

       FINE ASSESSMENTS ----------------------------------------------------------­
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   ** NO DIST CONTROL XXX RECORD **
    ** NO PAYMENT RECORD **

    ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
         DATE          DESCRIPTION                                          DOC PG SEQ

        08/10/2000   CASE OPENED - ON VIEW ARREST                           00000
        08/11/2000   FIRST APPEARANCE ORDER// CURTIN
        08/11/2000   THE DEFENDANT BE RELEASED ON STANDARD CONDITIONS
        08/11/2000    (F.S. 903.047) AND THE FOLLOWING CONDITIONS:
        08/11/2000   BAIL SET IN THE AMOUNT OF $ 500,000.00
        08/11/2000   THE COURT FINDS THE DEFENDANT IS ELIGIBLE
        08/11/2000   FOR AND APPOINTS THE PUBLIC DEFENDER, PENDING
        08/11/2000   THE FILING OF A FINANCIAL AFFIDAVIT AND PAYMENT
        08/11/2000   $40.00 APPLICATION WITHIN 7 DAYS (FS 27.52)
        08/11/2000   PHOTO IDENTIFICATION NOT FILED
        08/11/2000   BAIL SET AT    500000.00                               00000      000
        08/11/2000   SA ASSIGNED: FERRERO, DENISE R                         00000
        08/11/2000   PD ASSIGNED: MOLLICA, SALVATORE D                      00000
prgrm name*
  Date: 11/25/2002
  Time: 11: 43 : 54
                               c                                o
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                        J.K.   II   BUDDY II IRBY, CLERK OF THE COURT
                                     ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
      DATE            DESCRIPTION                                            DOC PG SEQ
      08/17/2000   SA ASSIGNED: SINGER, JEANNE M                             00000
      08/22/2000   NOTICE OF APPEARANCE: G GROLAND (CURRENTLY REP
      08/25/2000   STIPULATION FOR SUBSTITUTION OF COUNSEL
      08/29/2000   ORDER ALLOWING SUBSTITUTION OF COUNSEL / GORDON
      08/29/2000   SUBSTITUTED AS COUNSEL // CHANCE
      08/29/2000    INDICTMENT FILED FOR FIRST DEGREE MURDER
      08/29/2000   ARRAIGNMENT           SET FOR 09192000                    00000
      08/29/2000   CAPIAS      ISSUED                                        00000
      08/29/2000   CAPIAS      ORDERED                                       00000
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      08/30/2000   AND DEMAND FOR JURY TRIAL
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      09/18/2000   DEMAND FOR RECIPROCAL DISCLOSURE
      09/21/2000   CASE MANAGEMENT       SET FOR 11202000                   00000
      09/21/2000   NOTICE ISSUED TO: DEFENDANT                              00000
      09/21/2000   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H             00000
      09/29/2000   MOTION TO SET BOND
      10/02/2000   BOND HEARING          SET FOR 10172000                   00000
      10/02/2000   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H             00000
      10/02/2000   NOTICE OF HEARING ON 103000 AT / 2:00PM /
      10/13/2000   ORDER SETTING BOND / $50,000.00 CASH // CHANCE
      10/13/2000   SPECIAL CONDITIONS:
      10/13/2000   NO CONTACT WITH VICTIM'S FAMILY OR EXTENDED FAMI
      10/13/2000   NO CONTACT WITH CHILDREN UNDER THE AGE OF 16 YEA
      10/13/2000   MUST RESIDE IN BROWARD CO., FLORIDA WITH HIS PAR
      10/13/2000   AT 19401 NW 10 ST, PEMBROKE PINES, FL UNTIL FURT
      10/13/2000   ORDER OF THE COURT AND SHALL NOT LEAVE BROWARD C
      10/13/2000   WITHOUT PERMISSION FROM THE COURT EXCEPT TO TRAV
      10/13/2000   TO GAINESVILLE, FL TO MEET WITH HIS ATTORNEYS OR
      10/13/2000   MAKE COURT APPEARANCES IN CONNECTION WITH THESE
      10/13/2000   IF DEFENDANT HAS A PASSPORT, SHALL SURRENDER TO
prgrm name*
  Date: 11/25/2002
  Time: 11 :43 :55
                              o                              o
           Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 15 of 121
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                                                                             *prgrm name*
                       J.K.   II   BUDDY" IRBY, CLERK OF THE COURT
                                    ALACHUA COUNTY, FLORIDA
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~SE   #: 2000-02753-CFA                                                      PAGE: 6
 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
      10/13/2000    STATE ATTORNEY'S OFFICE OR ANOTHER DESIGNATED AG
      10/13/2000    SHALL NOT BECOME EMPLOYED IN THE MEDICAL OR HEAL
      10/13/2000    SECTOR DURING THE PENDENCY OF THIS CASE
      10/13/2000    SHALL WITHIN 10 DAYS OF POSTING BOND BE REFERRED
      10/13/2000    FAMILY DOCTOR IN BROWARD CO. TO A PSYCHIATRIST F
      10/13/2000    EVALUATION TO DETERMINE WHETHER OR NOT THE DE FEN
      10/13/2000   SHOULD BE ON ANY MEDICATION FOR DEPRESSION OR OT
      10/13/2000   MEDICAL PROBLEM
      10/13/2000   STIPULATION FOR BOND
      10/17/2000   BLANKET BOND POSTED ON 2000-02660-CFA                    00000
      10/17/2000   BOND SET AT     50000.00 POSTED BLANKET BOND             00000   000
      10/17/2000   STATUS OF BOND IS OPEN                   BOND #: 1       00000   000
      10/17/2000   BLANKET BOND     BOND POSTED ON 10/16/2000               00000   000
      10/17/2000   BLANKET BOND POSTED FOR 2000-02660-CFA                   00000
      10/17/2000   NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY                  00000
      10/20/2000   RTN MAIL 10182000/TO BRIAN HERLIHY/FOR CASE MANA
      10/20/2000   11202000/UNABLE TO FORWARD//CRC
      11/09/2000   MOTION TO CONTINUE CASE MANAGEMENT CONFERENCE AN
      11/09/2000   MOTION TO EXCUSE THE DEFENDANT
      11/15/2000   ORDER GRANTING DEFENDANT'S MOTION FOR CONTlNUANC
      11/15/2000   EXCUSING DEFENDANT FROM CASE MANAGEMENT CONFEREN
      11/15/2000   ON 11202000 / CONTINUED TO 12182000 // CHANCE
      11/15/2000   NOTICE OF TAKING DEPOSITIONS
      11/15/2000   NOTICE OF TAKING DEPOSITIONS
      11/16/2000   CASE MANAGEMENT       SET FOR 12182000                   00000
      11/16/2000   NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY                  00000
      11/16/2000   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H             00000
      11/27/2000   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      12/18/2000   ORDER ON CASE MANAGEMENT CONFERENCE// CHANCE
      12/18/2000   CASE MANAGEMENT       SET FOR 01172001                  00000
      12/21/2000   NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY                 00000
      12/27/2000   NOTICE OF HEARING ON 01032001 AT / 1:45 PM /
      12/27/2000   MOTION TO MODIFY A CONDITION OF RELEASE
      01/03/2001   COURT MINUTES ON MOTION TO COMPEL - CANCELLED/
      01/03/2001   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      01/17/2001   ORDER ON CASE MANAGEMENT CONFERENCE// CHANCE
      01/17/2001   CASE MANAGEMENT       SET FOR 02192001                  00000
      01/18/2001   NOTICE ISSUED TO: DEFENDANT                             00000
      01/18/2001   NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY                 00000
      01/18/2001   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H            00000
      01/22/2001   AMENDED NOTICE OF TAKING DEPOSITION
      02/05/2001   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      02/05/2001   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      02/14/2001   NOTICE OF TAKING DEPOSITIONS
      02/15/2001   NOTICE OF TAKING DEPOSITIONS
prgrm name*
  Date: 11/25/2002
  Time: 11:43:55
                             o                            o
         Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 16 of 121
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                         J.K. "BUDDY" IRBY, CLERK OF THE COURT
                                ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
      02/15/2001     NOTICE OF TAKING DEPOSITIONS
      02/15/2001     NOTICE OF TAKING DEPOSITIONS
      02/15/2001     NOTICE OF TAKING DEPOSITIONS
      02/15/2001     NOTICE OF TAKING DEPOSITIONS
      02/19/2001     CASE MANAGEMENT       SET FOR 03192001           00000
     02/19/2001       DEFENDANT SIGNED NOTICE FOR 031901 CASE MANAGE
     02/20/2001      NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY          00000
     02/20/2001      AMENDED NOTICE OF TAKING DEPOSITION
     02/21/2001      NOTICE OF CANCELLATION OF DEPOSITION AT THE STAT
     02/21/2001      REQUEST
     02/27/2001      NOTICE OF HEARING ON 03052001 AT / 11:00 AM /
     03/05/2001      COURT MINUTES ON MOTION TO MODIFY CONDITIONS OF
     03/05/2001      RELEASE - MOTION'DENIED / ORDER TO BE PREPARED
     03/05/2001      BY STATE ATTORNEY /
     03/16/2001      NOTICE OF TAKING DEPOSITIONS
     03/19/2001      ORDER ON CASE MANAGEMENT CONFERENCE// LOTT
     03/19/2001      PRE TRIAL CONFERENCE SET FOR 09262001            00000
     03/19/2001      JURY SELECTION        SET FOR 10082001           00000
     03/20/2001      NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY          00000
     03/20/2001      NOTICE ISSUED TO BONDSMAN: LOIS HERHIHY          00000
     03/23/2001      STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     03/27/2001      NOTICE OF TAKING DEPOSITIONS
     03/27/2001      NOTICE OF TAKING DEPOSITIONS
     03/27/2001      AMENDED NOTICE OF TAKING DEPOSITION
     03/30/2001      STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     04/04/2001      AMENDED NOTICE OF TAKING DEPOSITION
     04/24/2001      NOTICE OF CANCELLATION OF DEPOSITION
     05/03/2001      STATE'S SUPPLE~ENTAL DISCOVERY EXHIBIT
     05/14/2001      MOTION TO REVOKE BOND
     05/14/2001      ORDER REVOKING BOND AND DIRECTING CLERK TO ISSUE
     05/14/2001      CAPIAS//LOTT
     05/14/2001      CAPIAS      ORDERED                              00000
     05/15/2001      CAPIAS      ISSUED                               00000
     05/16/2001      STATUS OF BOND IS RELEASED             BOND #: 1 00000     000
     OS/22/2001      REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     OS/22/2001        LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     OS/22/2001      $ 50.75 // PAID
     06/01/2001      NOTICE OF TAKING DEPOSITIONS
     06/05/2001      CAPIAS      SERVED                               00000
     06/06/2001      DEFENDANT REARRESTED ON    06052001              00000
     06/06/2001      DEF NAME AT RARST HERLIHY, BRIAN PATRICK         00000
     06/06/2001      FIRST APPEARANCE ORDER// NILON
     06/06/2001      THE DEFENDANT BE RELEASED ON STANDARD CONDITIONS
     06/06/2001      (F.S. 903.047) AND THE FOLLOWING CONDITIONS:
     06 /06 /2-001   BAIL SET IN THE AMOUNT OF $ 50,000.00 BLANKET WI
prgrm name'*'
  Date: 11/25/2002
  Time: 11: 4 3 : 55
                              o                              o
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                         J.K. "BUDDY" IRBY, CLERK OF THE COURT
                                ALACHUA COUNTY, FLORIDA
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 '*'* CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE              DESCRIPTION                                          DOC PG SEQ
     06/06/2001     2000-2660-CFA
     06/06/2001    DEFENDANT WILL CONSULT PRIVATE COUNSEL
     06/06/2001     PHOTO IDENTIFICATION FILED IN CASE # 2000-2660-C
     06/06/2001    AFFIDAVIT OF INDIGENCY-NOT APPOINTED//NILON
     06/13/2001    BOND SET AT      50000.00 POSTED BLANKET BOND            00000    000
     06/13/2001    STATUS OF BOND IS OPEN                   BOND #: 0       00000    000
     06/13/2001    BLANKET BOND      BOND POSTED ON 06/11/2001              00000    000
     06/13/2001    BLANKET BOND POSTED FOR 2000-02660-CFA                   00000
     06/13/2001    BLANKET BOND POSTED ON 2000-02660-CFA                    00000
     06/19/2001    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     06/19/2001      LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     06/19/2001    $59.50
     07/02/2001    NOTICE OF TAKING"DEPOSITION
     07/02/2001    NOTICE OF TAKING DEPOSITION
     07/10/2001    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     07/11/2001    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     07/11/2001      LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     07/11/2001    $59.50
     07/20/2001    ORDER REVOKING CASH BOND AND DIRECTING THE ISSUA
     07/20/2001    CAPIAS //TURNER
     07/20/2001    CAPIAS      .ISSUED                                      00000
     07/20/2001    CAPIAS       ORDERED                                     00000
     07/20/2001    SECOND MOTION TO REVOKE BOND HEARING / 07202001
     07/20/2001    1:30 PM BEFORE JUDGE TURNER
     07/20/2001    SECOND MOTION TO REVOKE BOND
     07/23/2001    STATUS OF BOND IS RELEASED               BOND #: 0       00000   000
     07/25/2001    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     07/26/2001    MOTION TO CONTINUE
     07/26/2001    NOTICE OF HEARING ON 08102001 AT / 11:00 AM /
     07/31/2001    NOTICE OF CANCELLATION OF TAKING DEPOSITION
     08/02/2001    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/08/2001    NOTICE OF TAKING DEPOSITION OF JOHN QUIRELLO
     08/08/2001    NOTICE OF TAKING DEPOSITION OF KIM BRAGG/BRANDY
     08/08/2001    AND DORIS BRIDWELL
     08/10/2001    COURT MINUTES ON MOTION TO CONTINUE - ATTORNEY W
     08/10/2001    SPEEDY TRIAL / MOTION GRANTED/PRETRIAL CONFERENC
     08/10/2001    CONTINUED TO JANUARY 2002/
     08/10/2001    PRE TRIAL CONFERENCE SET FOR 01302002                    00000
     08/13/2001    NOTICE ISSUED TO: DEFENDANT                              00000
     08/13/2'001   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H             00000
     08/20/2001    NOTICE OF CANCELLATION OF TAKING DEPOSITION
     09/05/2001    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/06/2001    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/06/2001      CHARTONE, INC. IN THE AMOUNT OF $ 277.20 // PA
     09/07/2'001   NOTICE OF TAKING DEPOSITIONS
"prgrm name*
   Date: 11/25/2002
   Time: 11:43:55
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                                                                              *prgrm name*
                        J.K.   II   BUDDY II IRBY, CLERK OF THE COURT
                                     ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE             DESCRIPTION                                            DOC PG SEQ
     09/07/2001 NOTICE OF TAKING DEPOSITIONS
     09/07/2001 NOTICE OF TAKING DEPOSITIONS
     09/21/2001 REQUEST FOR PAYMENT {LOCAL CRIMINAL JUSTICE FUND
     09/21/2001 LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     09/21/2001 $70.00
     09/21/2001 REQUEST FOR PAYMENT ,(LOCAL CRIMINAL JUSTICE FUND
     09/21/2001 LEBLANC COURT REPORTING IN THE AMOUNT OF $ 129
     09/21/2001 NOTICE OF CANCELLATION OF TAKING DEPOSITION
     09/21/2001 AMENDED NOTICE OF TAKING DEPOSITION AS TO TIME
     10/10/2001 MOTION TO SET ASIDE BOND ESTREATURE
     10/23/2001 STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     10/26/2001' COURT MINUTES ON MOTION TO SET ASISE BOND
     10/26/2001 ESTREATURE - GRANTED/BOND MONEY TO BE RETURNED T
     10/26/2001 FAMILY/
     10/26/2001 ORDER GRANTING MOTION TO SET ASIDE BOND ESTREATU
     11/02/2001 RESTITUTION CHECK MAILED: $ 50,000.00 TO LOIS
     11/06/2001 UNOPPOSED MOTION TO CONTINUE TRIAL
     11/21/2001 REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     11/21/2001 CHARTONE INC. IN THE AMOUNT OF $ 277.20 // PAl
     11/27/2001 NOTICE OF HEARING ON 113001 AT / 1:30PM / LOT
     11/30/2001 ORDER GRANTING DEFENDANT'S MOTION TO CONTINUE ­
     11/30/2001 ORDERED AND ADJUDGED THAT THE DEFENDANT'S MOTION
     11/30/2001 AND THE' SAME IS HEREBY GRANTED AND THIS CASE IS
     11/30/2001 RESCHEDULED FOR PRE-TRIAL CONFERENCE ON
     11/30/2001 MARCH 20, 2002 AT 1:30PM WITH TRIAL TO BE SCHEDU
     11/30/2001 COMMENCING ON THE WEEK OF MAY 13, 2002 WITH MAY
     11/30/2001 8TH TRIAL STATUS // LOTT
     12/12/2001 NOTICE OF TAKING DEPOSITIONS
     12/26/2001 NOTICE OF TAKING DEPOSTION - DR. ROHLING
     12/26/2001 NOTICE OF TAKING DEPOSTION - BETH TALAGA
     01/04/2002 NOTICE OF CANCELLATION OF TAKING DEPOSITION
     01/14/2002 NOTICE OF TAKING DEPOSITIONS
     01/14/2002 NOTICE OF TAKING DEPOSITIONS
     01/16/2002 DEFENDANT'S WITNESS LIST
     01/22/2002 MOTION FOR COURT ORDER ALLOWING DEFENDANT TO GET
     01/22/2002 COPIES OF CHILD PROTECTION TEAM RECORDS
     01/24/2002 PRE TRIAL CONFERENCE SET FOR 02202002                       00000
     01/24/2002 NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H                00000
     02/01/2002 UNOPPOSED MOTION TO CONTINUE TRIAL
     02/14/2002 NOTICE OF HEARING ON 030602 AT / 10:00AM / LO
     02/25/2002 PRE TRIAL CONFERENCE SET FOR 03202002                       00000
     02/25/2002 TRIAL STATUS CONF     SET FOR 04032002                      00000
     02/25/2002 JURY SELECTION        SET FOR 04082002                      00000
     02/25/2002 NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H                00000
     02/25/2002 NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H                00000
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prgrm name*
  Date: 11/25/2002                                                          Page: 10
  Time: 11:43:56                                                            *prgrm name*
                      J.K. "BUDDyn IRBY, CLERK OF THE COURT
                              ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
      DATE           DESCRIPTION                                         DOC PG SEQ
     02/25/2002    NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H          00000
     02/27/2002   NOTICE OF TAKING DEPOSITIONS
     02/27/2002   NOTICE OF TAKING DEPOSITIONS
     02/27/2002   NOTICE OF TAKING DEPOSITIONS
     03/11/2002    PRE TRIAL CONFERENCE SET FOR 07172002                 00000
     03/11/2002   TRIAL STATUS CONF      SET FOR 08072002                00000
     03/11/2002    JURy SELECTION        SET FOR 08122002                00000
     03/11/2002   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H           00000
     03/11/2002   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H           00000
     03/11/2002   NOTICE ISSUED TO DEF ATTY: 'GROLAND, GORDON H          00000
     03/14/2002   NOTICE OF CANCELLATION OF TAKING DEPOSITION
     03/14/2002   AMENDED NOTICE OF TAKING DEPOSITION
     03/14/2002   CAPIAS      SERVED                                     00000
     03/15/2002   DEFENDANT REARRESTED ON     03142002                   00000
     03/15/2002   DEF NAME AT RARST HERLIHY, BRIAN PATRICK               00000
     03/15/2002   FIRST APPEARANCE ORDER// CRENSHAW
     03/15/2002   THE DEFENDANT BE RELEASED ON STANDARD CONDITIONS
     03/15/2002    (F.S. 903.047) AND THE FOLLOWING CONDITIONS:
     03/15/2002   BAIL SET IN THE AMOUNT OF $ 100,000.00
     03/15/2002   THE DEFENDANT REPRESENTS HE/SHE WILL CONSULT PRI
     03/15/2002   COUNSEL
     03/15/2002   PHOTO IDENTIFICATION FILED INCASE # 2000-2660-C
     03/15/2002   AMENDED FIRST APPEARANCE ORDER AS TO BAIL
     03/15/2002   $1,000,000.00 // CRENSHAW
     03/27/2002   NOTICE OF HEARING ON 040302 AT / 9:00AM / LOT
     03/27/2002   MOTION TO REINSTATE PREVIOUS BOND
     03/27/2002   NOTICE OF CANCELLATION OF TAKING DEPOSITION
     04/03/2002   COURT MINUTES ON MOTION TO REINSTATE PREVIOUS
     04/03/2002   BOND ­
     04/03/2002   -DENIED/ORDER TO BE PREPARED BY STATE ATTORNEY/
     04/05/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     04/05/2002   NOTICE OF TAKING DEPOSITIONS
     04/10/2002   NOTICE OF TAKING DEPOSITIONS
     04/16/2002   MOTION FOR ORDER ALLOWING ISSUANCE OF SUBPOENAS
     04/16/2002   TECUM FOR EMPLOYMENT AND EDUCATIONAL RECORDS OF
     04/16/2002   DEFENDANT
     04/22/2002   SUBPOENA DUCES TECUM HEARING / 04252002 AT 1:30
     04/22/2002   COURTROOM 3D BEFORE JUDGE LOTT
     04/23/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     04/23/2002     LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     04/23/2002   $ 26.25 // PAID
     05/06/2002   COURT MINUTES ON MOTION FOR SUBPOENAS DUCES TECU
     05/06/2002   EMPLOYMENT RECORDS AND EDUCATIONAL RECORDS OF
     05/06/2002   DEFENDANT - GRANTED AS TO EMPLOYMENT/GRANTED AS
     05/06/2002   MILITARY AND EDUCATION WITH THE FOLLOWING PROVIS
            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 20 of 121
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prgrm name*
  Date: 11/25/2002
  Time: 11:43:56
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                          J.K. "BUDDY" IRBY, CLERK OF THE COURT
                                 ALACHUA COUNTY, FLORIDA
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 **   CRIMINAL ACTION DOCKET --~-------------------------------------------------
       DATE         DESCRIPTION                                     DOC PG SEQ
         05/06/2002    MILITARY AND EDUCATIONAL RECORDS WILL BE DELIVER
         05/06/2002    THE CLERK'S OFFICE UNDER SEAL/ORDER TO BE PREPAR
         05/06/2002    BY STATE ATTORNEY/
         05/06/2002    AMENDED NOTICE FOR SUBPOENA DUCES TECUM HEARING
         05/06/2002    MONDAY, MAY 6, 2002 AT 1:30PM
         OS/22/2002    NOTICE OF TAKING DEPOSITION
         OS/22/2002    NOTICE OF TAKING DEPOSITIONS
         OS/24/2002    NOTICE OF TAKING DEPOSITION
         06/04/2002    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND"
         06/04/2002     VANLANDINGHAM, DURSCHER &VANLANDINGHAM IN THE
         06/04/2002    OF 120.90/PAID/
         06/05/2002   DEFENDANT'S SUPPLEMENTAL WITNESS LIST
         06/06/2002    NOTICE OF TAKING "DEPOSITION(S)
         06/06/2002   NOTICE OF CANCELLATION OF DEPOSITION
         06/20/2002   DEPOSITION OF HELEN LEGALL
         06/20/2002   RETURN OF SERVICE - UNSERVED
         06/20/2002   RETURN OF SERVICE - SERVED
         06/20/2002   RETURN OF SERVICE - SERVED
         06/20/2002   RETURN OF SERVICE - SERVED
         06/20/2002   RETURN OF SERVICE - SERVED
         06/20/2002   RETURN OF SERVICE - SERVED
      ." 06/20/2002   RETURN OF SERVICE - SERVED
         06/25/2002   NOTICE Of TAKING DEPOSITIONS
         06/26/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
         06/26/2002   VANLANDINGHAM, DURSCHER & VANLANDINGHAM IN THE A
         06/26/2002   OF $37.55 // PAID
         06/26/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
         06/26/2002   LEBLANC COURT REPORTING SERVICES IN THE AMOUNT 0
         06/26/2002   $129.50 // PAID
         06/26/2002   MOTION TO CONTINUE CAUSE
         06/26/2002   NOTICE OF HEARING ON 071102 AT / 8:45AM / LOT
         06/28/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
         06/28/2002   ADDENDUM TO MOTION TO CONTINUE CASE
         06/28/2002   NOTICE OF DEPOSITION
         07/05/2002   RETURN OF SERVICE - SERVED
         07/05/2002   RETURN OF SERVICE - SERVED
         07/10/2002   RETURN OF SERVICE - SERVED AS TO ANGIE HARN
         07/11/2002   TRIAL STATUS CONF     SET FOR 09042002                00000
         07/11/2002   JURY SELECTION        SET FOR 09092002                00000
         07/11/2002   MOTION TO CONTINUE CASE
         07/11/2002   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H          00000
         07/11/2002   NOTICE ISSUED TO DEF ATTY: GROLAND, GORDON H          00000
         07/12/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
         07/12/2002   NOTICE OF TAKING DEPOSITIONS
         07/12/2002   NOTICE OF TAKING DEPOSITIONS
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prgrm name*
  Date: 11/25/2002
  Time: 11: 4 3 : 56
                            "
                       J.K. "BUDDY" IRBY, CLERK OF THE COURT
                              ALACHUA COUNTY, FLORIDA
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~SE   #: 2000-02753-CFA                                                      PAGE: 12
 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
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      07/12/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/12/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/15/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/16/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/17/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      07/17/2002    *SPECIAL CASE MGMT ON 080202 AT 9:00 A.M.*
      07/17/2002   DEFENDANT SIGNED NOTICE FOR 080202 CASE MANAGE
      07/18/2002   AMENDED NOTICE OF DEPOSITION
      07/18/2002   SUBPOENA DUCES TECUM
      07/19/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      07/19/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      07/19/2002   NOTICE OF TAKING DEPOSITION(S)
      07/22/2002   ORDER SCHEDULING'SPECIAL CASE MANAGEMENT CONFERE
      07/22/2002   AUGUST 2, 2002 AT 9:00AM // LOTT
      07/23/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/23/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/24/2002   RETURN OF SERVICE - SERVED
      07/24/2002   RETURN OF SERVICE - SERVED
      07/24/2002   NOTICE OF TAKING TELEPHONIC DEPOSITION
      07/24/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      07/25/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      07/25/2002   CHARTONE, INC IN THE AMOUNT OF $ 26.29 / PAID
      07/25/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      07/25/2002   CHARTONE IN THE AMOUNT OF $ 448.85 / PAID
      07/25/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      07/25/2002     SHANDS HEALTH CARE IN THE AMOUNT OF $ 25.00
      07/25/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      07/25/2002     LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
      07/25/2002   $223.55
      07/25/2002   RETURN OF SERVICE - SERVED
      07/26/2002   RETURN OF SERVICE - SERVED
      07/29/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      07/30/2002   NOTICE OF TAKING DEPOSITION(S)
      08/02/2002   COURT MINUTES - CASE MANAGEMENT ON CASE NUMBERS
      08/02/2002   2000-2660CFA, 2000-27S3CFA - RULING: REMAIN ON
      08/02/2002   CURRENT COURT DATES
      08/06/2002   NOTICE OF TAKING DEPOSITIONS
      08/06/2002   NOTICE OF TAKING DEPOSITIONS
      08/06/2002   AMENDED NOTICE OF TAKING DEPOSITION
      08/06/2002   NOTICE OF TAKING DEPOSITIONS
      08/08/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      08/08/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
      08/08/2002   NOTICE OF TAKING DEPOSITIONS
      08/09/2002   NOTICE OF TAKING DEPOSITION(S)
      08/13/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
prgrm name*
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE             DESCRIPTION                                            DOC PG SEQ
     08/13/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/13/2002    RETURN OF SERVICE - SERVED
     08/13/2002    RETURN OF SERVICE - SERVED
     08/13/2002    RETURN OF SERVICE - SERVED
     08/13/2002    RETURN OF SERVICE - SERVED
     08/13/2002    RETURN OF SERVICE - SERVED
     08/13/2002    RETURN OF SERVICE - SERVED
     08/14/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - SERVED
     08/14/2002    RETURN OF SERVICE - UNSERVED
     08/14/2002    NOTICE OF TAKING DEPOSITION(S)
     08/14/2002    NOTICE OF TAKING DEPOSITION(S}
     08/15/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/15/2002    RETURN OF SERVICE - SERVED
     08/15/2002    RETURN OF SERVICE - SERVED
     08/15/2002    AMENDED NOTICE OF TAKING DEPOSTITION(S}
     08/15/2002    NOTICE OF TAKING DEPOSITIONS
     08/16/2002    DEFENDANT'S SUPPLEMENTAL WITNESS LIST
     08/16/2002    NOTICE OF TAKING DEPOSITION(S}
     08/16/2002    NOTICE OF TAKING DEPOSITION
     08/16/2002    AMENDED NOTICE OF TAKING DEPOSITION
     08/20/2002    RETURN OF SERVICE - SERVED
     08/20/2002    RETURN OF SERVICE - SERVED
     08/22/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/22/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/22/2002    RETURN OF SERVICE - UNSERVED
     08/23/2002    WITNESS SUBPOENA
     08/23/2002    TRANSCRIPT OF DEPOSITION OF ANNE ELIZABETH DICKI
     08/23/2002    TRANSCRIPT OF DEPOSITION OF KEVIN PUTANSU
     08/23/2002    TRANSCRIPT OF DEPOSITION OF JOHN HELLRUNG, M.D.
     08/26/2002    DEFENDANT'S SUPPLEMENTAL WITNESS LIST
     08/26/2002    ORDER GRANTING DEFENDANT'S MOTION FOR COURT ORDE
     08/26/2002    ALLOWING CHILD PROTECTION TEAM TO TURN OVER COPI
     08/26/2002    RECORDS // LOTT
     08/27/2002    LETTER FROM DEFENSE ATTORNEY TO JUDGE LOTT
     08/27/2002    TRANSCRIPT OF DEPOSITION HELD ON 08162002
     08/28/2002    SUBPOENA FOR TRIAL
     08/28/2002    NOTICE OF TAKING TELEPHONIC DEPOSITION
     08/28/2002    NOTICE OF TAKING DEPOSITIONS
         Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 23 of 121
'prgrm name*
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
     08/29/2002    MOTION FOR ORDER IN LIMINE PRECLUDING REFERENCE
     08/29/2002    DEFENDANT'S LACK OF PRIOR CONVICTIONS
     08/29/2002    MOTION FOR ORDER IN LIMINE PRECLUDING ANY REFERE
     08/29/2002    TO THE POSSIBLE SENTENCE THAT MAY BE IMPOSED UPO
     08/29/2002    CONVICTION
     Oa/29/2002    STATE/S PRE-TRIAL MOTION FOR RULING ON THE
     08/29/2002    ADMISSIBILITY OF PHOTOGRAPHS
     08/29/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/29/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/29/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     08/30/2002    MOTION FOR PERMISSION TO CALL MEDICAL WITNESS AT
     08/30/2002    CERTAIN
     08/30/2002    MOTION FOR PERMISSION TO UTILIZE DEMONSTRATIVE A
     08/30/2002    MOTION FOR ORDER IN LIMINE PRECLUDING ANY REFERE
     08/30/2002    THE POSSIBLE SENTENCE THAT MAY BE IMPOSED UPON
     08/30/2002    CONVICTION HEARING / 090402 AT 9:00 AM
     08/30/2002    STATE'S PRE-TRIAL MOTION FOR RULING ON THE
     08/30/2002   ADMISSIBILITY OF PHOTOGRAPHS HEARING / 09042002
     08/30/2002    9:00 AM BEFORE JUDGE LOTT
     08/30/2002   MOTION FOR ORDER IN LIMINE PRECLUDING REFERENCE
     08/30/2002   DEFENDANT'S LACK OF PRIOR CONVICTIONS HEARING /
     08/30/2002   AT 9:00 AM
     08/30/2002   MOTION FOR PERMISSION TO CALL MEDICAL WITNESS AT
     08/30/2002   CERTAIN HEARING / 09042002 AT 9:00 AM
     08/30/2002   MOTION FOR PERMISSION TO UTILIZE DEMONSTRATIVE A
     08/30/2002   HEARING / 09042002 AT 9:00 AM
     08/30/2002   AMENDED NOTICE OF TAKING DEPOSITION
     08/30/2002   DEFENDANT'S SUPPLEMENTAL WITNESS LIST
     08/30/2002   SUBPOENA FOR TRIAL
     09/03/2002   MOTION TO ALLOW JURORS TO TAKE WRITTEN NOTES OUR
     09/03/2002   TRIAL
     09/03/2002   MOTION IN LIMINE TO PERMIT TESTIMONY CONCERNING
     09/03/2002   LOCATION OF INTERACTION WITH DEFENDANT HEARING /
     09/03/2002   AT 9:00 AM BEFORE JUDGE LOTT
     09/03/2002   MOTION TO ALLOW JURORS TO TAKE WRITTEN NOTES OUR
     09/03/2002   TRIAL HEARING / 090402 AT 9:00 AM BEFORE JUDGE L
     09/03/2002   MOTION IN LIMINE TO PERMIT TESTIMONY CONCERNING
     09/03/2002   LOCATION OF INTERACTION WITH DEFENDANT
     09/03/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/03/2002   MOTION TO SUPPRESS STATEMENTS
     09/03/2002   DEFENDANT'S MOTION TO SUPPRESS EVIDENCE
     09/03/2002   DEFENDANT'S MOTION IN LIMINE
     09/03/2002   DEFENDANT'S MOTION TO STRIKE TESTIMONY ABOUT AND
     09/03/2002   USE OF A COMPACT DISC PURPORTING TO SHOW HOW AN
     09/03/2002   INCIDENT OF SHAKEN BABY SYNDROME OCCURS
prgrm name*
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
      09/04/2002   COURT MINUTES - DEFENDANT'S MOTION TO DISMISS
      09/04/2002    INDICTMENT AND CHARGES OF FIRST DEGREE MURDER AN
      09/04/2002   MEMORANDUM OF LAW IN SUPPORT THEREOF BECAUSE OF
      09/04/2002   DESTRUCTION OF EXCULPATORY EVIDENCE ON CASE NUMB
      09/04/2002   2000-2660CFA, 2000-2753CFA - RULING: TO BE RESC
      09/04/2002   COURT MINUTES - DEFENDANT'S MOTION TO SUPPRESS E
      09/04/2002   ON CASE NUMBERS 2000-2753CFA, 2000-2660CFA - RUL
      09/04/2002   RESERVED UNTIL 090502
      09/04/2002   COURT MINUTES - DEFENDANT'S MOTION TO SUPPRESS
      09/04/2002   STATEMENTS ON CASE NUMBERS 2000-2660CFA, 2000-27
      09/04/2002   RULING: RESERVED UNTIL 090502
      09/04/2002   REQUEST TO ADJOURN TRIAL AT OR NEAR 5:00 PM ON
      09/04/2002   WEDNESDAY SEPTEMBER II, 2002 AND WEDNESDAY SEPTE
      09/04/2002   18, 2002
      09/04/2002   COURT MINUTES - STATE'S MOTION FOR PERMISSION TO
      09/04/2002   MEDICAL WITNESS AT TIME CERTAIN ON CASE NUMBERS
      09/04/2002   2000-2753CFA, 2000-2660CFA - RULING: TO BE RESC
      09/04/2002   COURT MINUTES - STATE'S MOTION FOR ORDER IN LIMI
      09/04/2002   PRECLUDING REFERENCE TO DEFENDANT'S LACK OF PRIO
     09/04/2002    CONVICTIONS ON CASE NUMBERS 2QO'0-2753CFA, 2000-2
      09/04/2002   -RULING: TO BE RESCHEDULED
     09/04/2002    COURT MINUTES: STATE'S MOTION FOR ORDER IN LIMI
     09/04/2002    PRECLUDING ANY REFERENCE TO THE POSSIBLE SENTENC
     09/04/2002    MAY BE IMPOSED UPON CONVICTION ON CASE NUMBERS
     09/04/2002    2000-2753CFA, 2000-2660CFA - RULING: TO BE RESC
     ,09/04/2002   COURT MINUTES - STATE'S MOTION TO ALLOW JURORS T
     09/04/2002    WRITTEN NOTES DURING TRIAL ON CASE NUMBERS 2000­
     09/04/2002    AND 2000-2660CFA - RULING: TO BE RESCHEDULED
     09/04/2002    COURT MINUTES - DEFENDANT'S MOTION IN LIMINE 1 T
     09/04/2002    ON CASE NUMBERS 2000-2753CFA, 2000-2660CFA - RUL
     09/04/2002    TO BE RESCHEDULED
     09/04/2002    COURT MINUTES - STATE'S MOTION FOR PERMISSION TO
     09/04/2002    UTILIZE DEMONSTRATIVE AID ON CASE NUMBERS 2000-2
     09/04/2002    2000-2660CFA - RULING: TO BE RESCHEDULED
     09/04/2002    COURT MINUTES - DEFENDANT'S MOTION TO STRIKE TES
     09/04/2002    ABOUT AND USE OF A COMPACT DISC PURPORTING TO SH
     09/04/2002    AN INCIDENT OF SHAKEN BABY SYNDROME OCCURS ON CA
     09/04/2002    NUMBERS 2000-2753CFA, 2000-2660CFA - RULING: TO
     09/04/2002    RESCHEDULED
     09/04/2002    COURT MINUTES - STATE'S PRE-TRIAL MOTION FOR RUL
     09/04/2002    THE ADMISSIBILITY OF PHOTOGRAPHS ON CASE NUMBERS
     09/04/2002    2000-2753CFA, 2000-2660CFA - RULING: TO BE RESC
     09/04/2002    COURT MINUTES - STATE'S MOTION IN LIMINE TO PERM
     09/04/2002    TESTIMONY CONCERNING LOCATION OF INTERACTION WIT
     09/04/2002    DEFENDANT ON CASE NUMBERS 2000-2753CFA, 2000-266
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                             ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
     09/04/2002    RULING: TO BE RESCHEDULED
     09/04/2002    DEFENDANT SIGNED NOTICE FOR 090902 JURy SELECT
     09/04/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/04/2002    STATE'S PROPOSED JURY INSTRUCTION REGARDING
     09/04/2002    DEMONSTRATION EVIDENCE
     09/04/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/04/2002    RETURN OF SERVICE - SERVED
     09/04/2002    RETURN OF SERVICE - SERVED
     09/04/2002    RETURN OF SERVICE - SERVED
     09/04/2002    EVIDENCE CONTROL FORM
     09/04/2002   SEVERAL EVIDENCE CONTROL FORMS
     09/05/2002   STIPULATION ON ADMISSION OF 911 CALL INTO EVIDEN
     09/05/2002   STIPULATION ON ADMISSION OF MEDICAL RECORDS AND
     09/05/2002   MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO SUP
     09/05/2002   STATEMENTS FILED BY DEFENDANT
     09/05/2002   DEFENDANT SIGNED NOTICE FOR 090902 JURY SELECT
     09/05/2002   COURT MINUTES - STATE'S MOTION IN LIMINE TO PERM
     09/05/2002   TESTIMONY CONCERNING LOCATION OF INTERACTION WIT
     09/05/2002   DEFENDANT ON CASE NUMBERS 012000CF2753A, 012000C
     09/05/2002    -RULING: GRANTED
     09/05/2002   COURT MINUTES - STATE'S PRE-TRIAL MOTION FOR RUL
     09/05/2002   THE ADMISSIBILITY OF PHOTOGRAPHS: 1) AUTOPSY
     09/05/2002   2) DISSECTION OF THE SKULL 3) DEVELOPMENT OF CHI
     09/05/2002   4) PHOTOS OF RETINA ON CASE NUMBERS 012000CF2753
     09/05/2002   012000CF2660A - RULING: 1) GRANTED 2) GRANTED
     09/05/2002   3) GRANTED 4) GRANTED
     09/05/2002   COURT MINUTES - STATE'S PRE-TRIAL MOTION FOR RUL
     09/05/2002   THE ADMISSIBILITY OF PHOTOGRAPHS: 5) TAKEN BY AL
     09/05/2002   COLEMAN ON CASE NUMBERS 012000CF2753A, 012000CF2
     09/05/2002   -RULING: 5) GRANTED
     09/05/2002   COURT MINUTES<- DEFENDANT'S MOTION TO STRIKE TES
     09/05/2002   ABOUT AND USE OF A COMPACT DISC PURPORTING TO SH
     09/05/2002   AN INCIDENT OF SHAKEN BABY SYNDROME OCCURS ON CA
     09/05/2002   NUMBER 012000CF2753A, 012000CF2660A - RULING: D
     09/05/2002   COURT MINUTES - STATE'S MOTION FOR PERMISSION TO
     09/05/2002   UTILIZE DEMONSTRATIVE AID ON CASE NUMBERS 012000
     09/05/2002   AND 012000CF2660A - RULING: GRANTED
     09/05/2002   COURT MINUTES - DEFENDANT'S MOTION IN LIMINE 1 T
     09/05/2002   ON CASE NUMBERS 012000CF2753A, 012000CF2660A - R
     09/05/2002   1) GRANTED 2) GRANTED 3) GRANTED NO RECREATION 0
     09/05/2002   DEMONSTRATION 4) STIPULATED 5) WITHDRAWN 6) DENI
     09/05/2002   SUBJECT TO DEFENSE OBJECTING 7) WITHDRAWN 8) GRA
     09/05/2002   9) GRANTED SUBJECT TO REVIEW
     09/05/2002   COURT MINUTES - STATE'S MOTION TO ALLOW JURORS T
     09/05/2002   WRITTEN NOTES DURING TRIAL ON CASE NUMBERS
         Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 26 of 121
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   Date: 11/25/2002
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                      J.K. "BUDDY" IRBY, CLERK OF THE COURT
                             ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
     09/05/2002    012000CF2753A, 012000CF2660A - RULING: GRANTED
     09/05/2002    IS TO SECURE ENVELOPES EVERY NIGHT, ALL NOTES IN
     09/05/2002    DIFFERENT ENVELOPE EVERY DAY
     09/05/2002    COURT MINUTES - STATE'S MOTION FOR ORDER IN LIMI
     09/05/2002    PRECLUDING ANY REFERENCE TO THE POSSIBLE SENTENC
     09/05/2002   MAYBE IMPOSED UPON CONVICTION ON CASE NUMBERS
     09/05/2002    012000CF2753A, 012000CF2660A - STIPULATED
     09/05/2002    COURT MINUTES - STATE'S MOTION FOR ORDER IN LIMI
     09/05/2002    PRECLUDING REFERENCE TO DEFENDANT'S LACK OF PRIO
     09/05/2002    CONVICTIONS ON CASE NUMBER 012000CF2753A, 012000
     09/05/2002    -RULING: GRANTED
     09/05/2002    COURT MINUTES - DEFENDANT'S MOTION TO DISMISS
     09/05/2002    INDICTMENT ON CASE NUMBERS 012000CF2753A, 012000
     09/05/2002    -RULING: DENIED
     09/05/2002   COURT MINUTES - STATE'S MOTION FOR PERMISSION TO
     09/05/2002   MEDICAL WITNESS AT TIME CERTAIN ON CASE NUMBERS
     09/05/2002    012000CF2753A, 012000CF2660A - RULING: DENIED
     09/05/2002   TRANSCRIPT - DEPOSITION OF WILLIAM FRANK HAMILTO
     09/05/2002   TRANSCRIPT - DEPOSITION OF ANNE ELIZABETH DICKIS
     09/05/2002   TRANSCRIPT - TELEPHONIC DEPOSITION OF BERNARD MA
     09/05/2002   TRANSCRIPT - DEPOSITION OF JAMIE LYNN SNODGRASS
     09/05/2002   TRANSCRIPT - DEPOSITION OF SERGEANT VALERIE DAWS
     09/05/2002   TRANSCRIPT - DEPOSITION OF WILLIAM FRANK HAMILTO
     09/05/2002   TRANSCRIPT - DEPOSITION OF DR RONALD QUISLING
     09/05/2002   TRANSCRIPT - DEPOSITION OF HARVEY G ROHLING JR,
     09/05/2002   TRANSCRIPT - DEPOSITION OF SURENDER RAJASEKARAN ,
     09/05/2002   TRANSCRIPT - DEPOSITION OF OFFICER ORLANDO ALVAR
     09/05/2002   TRANSCRIPT - DEPOSITION OF DR FRANK AGEE
     09/05/2002   TRANSCRIPT - DEPOSITION OF OFFICER LARRY VINCENT
     09/05/2002   TRANSCRIPT - DEPOSITION OF DETECTIVE DUANE DIEHL
     09/05/2002   TRANSCRIPT - DEPOSITION OF HELEN LEGALL
     09/05/2002   TRANSCRIPT - DEPOSITION OF RICHARD KREINEST, M.D
     09/05/2002   TRANSCRIPT - DEPOSITION OF FIREFIGHTER KENNETH A
     09/05/2002   JOHNSON
     09/05/2002   TRANSCRIPT - DEPOSITION OF FIREFIGHTER WILLIAM B
     09/05/2002   BLAIR
     09/05/2002   TRANSCRIPT - DEPOSITION OF FIREFIGHTER DENNIS ME
     09/05/2002   TRANSCRIPT - DEPOSITION OF OFFICER DARYL WAYNE B
     09/05/2002   TRANSCRIPT - DEPOSITION OF ELIZABETH TALAGA
     09/05/2002   TRANSCRIPT - DEPOSITION OF LAWRENCE LEVINE, M.D.
     09/05/2002   TRANSCRIPT - DEPOSITION OF HOWARD LEE ROGERS, M.
     09/06/2002   MOTION FOR RECONSIDERATION OF ADMISSIBILITY OF
     09/06/2002   TESTIMONY OF DEPUTY CATHY LONG
     09/06/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/06/2002   STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
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                     J.K. "BUDDY" IRBY, CLERK OF THE COURT
                            ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
    09/06/2002     STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
    09/06/2002     REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
    09/06/2002      ANDERSON REPORTING SERVICES, INC. IN THE AMOUN
    09/06/2002     $ 87.45 /// PAID
    09/06/2002     REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
    09/06/2002      GAINESVILLE REPORTERS IN THE AMOUNT OF $ 335.5
    09/06/2002     // PAID
    09/06/2002     REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
    09/06/2002      ESQUIRE DEPOSITION SERVICES IN THE AMOUNT OF $
    09/06/2002     // PAID
    09/06/2002    DEFENDANT'S SUPPLEMENTAL WITNESS LIST
    09/06/2002    WITNESS SUBPOENA
    09/09/2002    SUBPOENA FOR TRIAL
    09/09/2002    DEFENDANT'S MOTION FOR REHEARING AND A DEMAND FO
    09/09/2002    RICHARDSON INQUIRY ON THE ISSUE OF THE ADMISSIBI
    09/09/2002    A COMPACT DISC PURPORTING TO SHOW A DEMONSTRATIO
    09/09/2002    SBS (SHAKEN BABY SYNDROME)
    09/09/2002    DEFENDANT'S RESPONSE IN OPPOSITION TO STATE'S MO
    09/09/2002    FOR RECONSIDERATION OF ADMISSIBILITY OF TESTIMON
    09/09/2002    DEPUTY KATHY LONG
    09/09/2002    WITNESS SUBPOENA
    09/09/2002   'MOTION TO TAKE, CONTINUING DEPOSITION OF RONALD
    09/09/2002    QUISLING, M.D. "
    09/09/2002    ORDER DENYING MOTION FOR RECONSIDERATION OF
    09/09/2002    ADMISSIBILITY OF TESTIMONY OF DEPUTY CATHY LONG
    09/09/2002    DECORUM ORDER AS TO MEDIA - MEDIA PERSONNEL SHAL
    09/09/2002    REMAIN IN THE GALLERY SEATING DURING THE JURY SE
    09/09/2002    AND TRIAL
    09/09/2002    -TV20 AND THE GAINESVILLE SUN IS/ARE THE ONLY ME
    09/09/2002    HAS/HAVE REQUESTED AND HAS/HAVE BEEN AUTHORIZED
    09/09/2002    BRING A STILL CAMERA AND/OR VIDEO CAMERA INTO TH
    09/09/2002    COURTROOM FOR JURY SELECTION AND TRIAL. NO
    09/09/2002    UNAUTHORIZED MEDIA WILL BE ALLOWED TO BRING A CA
    09/09/2002    INTO THE COURTROOM
    09/09/2002    -ONLY ONE STILL CAMERA/OR ONE VIDEO CAMERA WILL
    09/09/2002    ALLOWED IN THE COURTROOM. NO FLASHES WILL BE AL
    09/09/2002    THE STILL PHOTOGRAPHER AND/OR VIDEOGRAPHER MUST
    09/09/2002    IN THE GALLERY. NO PHOTOGRAPHS OR VIDEO OF THE
    09/09/2002    WILL BE ALLOWED. NO DISRUPTED MOVEMENT WILL BE
    09/09/2002    ALLOWED
    09/09/2002    -NO INTERVIEWS WILL BE CONDUCTED INSIDE THE COUR
    09/09/2002    //LOTT
    09/09/2002    DEFENDANT'S SUPPLEMENTAL WITNESS LIST
    09/09/2002    DEFENDANT SIGNED NOTICE FOR 090902 JURY SELECT
    09/09/2002    DAY CERTAIN TRIAL     SET FOR 09092002            00000
'prgrm name*
   Date: 11/25/2002
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                                                                            *prgrm name*
                        J.K. "BUDDY" IRBY, CLERK OF THE COURT
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE             DESCRIPTION                                         DOC PG SEQ
     09/09/2002    DEFENDANT'S SUPPLEMENTAL WITNESS LIST
     09/09/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/09/2002    MINUTES OF THE CLERK - JURY TRIAL
     09/10/2002    STATE'S SUPPLEMENTAL DISCOVERY EXHIBIT
     09/10/2002    TRANSCRIPT OF DEPOSITION AS TO CRYSTAL QUIRELLO
     09/10/2002    TRANSCRIPT OF DEPOSITION OF SERGEANT STEVEN WEAV
     09/10/2002    TRANSCRIPT OF DEPOSITION OF CORPORAL WHITNEY STO
     09/10/2002    TRANSCRIPT OF DEPOSITION OF KATHLEEN MARIE MORRI
     09/10/2002    TRANSCRIPT OF DEPOSITION OF CHRISTINA MILLARD
     09/10/2002    TRANSCRIPT OF DEPOSITION OF HELEN LEGALL
     09/10/2002    TRANSCRIPT OF DEPOSITION OF OFFICER JAMES CHRIST
     09/10/2002    JACKSON
     09/10/2002    TRANSCRIPT OF OFFICER ROBERT L KING, III
     09/10/2002    TRANSCRIPT OF LIEUTENANT WILLIAM THOMAS HALVOSA
     09/10/2002    TRANSCRIPT OF DEPOSITION OF RICHARD DAVIS,SR
     09/10/2002    TRANSCRIPT OF DEPOSITION OF DETECTIVE ALAN COLEM
     09/10/2002    TRANSCRIPT OF DEPOSITION OF DETECTIVE DAVID KElT
     09/10/2002    CANNON
     09/10/2002    TRANSCRIPT OF DEPOSITION OF STEPHEN NELSON, MD
     09/10/2002    TRANSCRIPT OF DEPOSITION OF SERGEANT ROBERT BART
     09/10/2002    TRANSCRIPT OF DEPOSITION OF DORIS MARIE BRIDWELL
     09/10/2002    ORDER GRANTING MOTION FOR RELEASE OF EVIDENCE /
     09/10/2002    THE FOLLOWING ARTICLES SHALL BE RELEASED FROM EV
     09/10/2002    BY THE CLERK OF THE COURT TO JEANNE M SINGER SAl
     09/10/2002    EVIDENCE BEING PARTICULARLY DESCRIBED AS FOLLOWS
     09/10/2002    PAGES OF LEGAL CORRESPONDENCE WHICH WERE PART OF
     09/10/2002    STATE'S EXHIBIT #5 IN EVIDENCE UPON JOINT STIPUL
     09/10/2002    OF STATE AND DEFENSE // LOTT
     09/11/2002    RETURN OF SERVICE - UNSERVED
     09/13/2002    TRANSCRIPT OF DEPOSITION OF SALVADOR COMELLA
     09/13/2002    TRANSCRIPT OF DEPOSITION OF DETECTIVE HELEN LEGA
     09/13/2002    TRANSCRIPT OF DEPOSITION OF DAVID SAMUEL ANDREW
     09/13/2002    STEWART, MD
     09/13/2002    TRANSCRIPT OF DEPOSITION OF MICHAEL BELL, MD
     09/13/2002    TRANSCRIPT OF DEPOSITION OF JONATHAN L WILLIAMS,
     09/13/2002    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/13/2002     ESQUIRE DEPOSITION SERVICES IN THE AMOUNT OF $
     09/13/2002    // PAID
     09/13/2002    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/13/2002     HARMON'S PHOTOS AR NICE IN THE AMOUNT OF $ 23.
     09/13/2002    // PAID
     09/19/2002    LAW ENFORCEMENT OFFICER CERTIFICATION OF WITNESS
     09/19/2002    FEE TRAVEL AND PER DIEM ALLOWANCE
     09/19/2002    LETTER TO JUDGE LOTT FROM JUROR #96
     09/19/2-002   LETTER FROM STEPHAN P MICKLE UNITED STATES DISTR
   Date: 11/25/2002
   Time: 11:43:58
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'prgrm name*
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                      J.K. "BUDDY" IRBY, CLERK OF THE COURT
                             ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
     09/19/2002    JUDGE (FAX)
     09/19/2002    LETTER TO JUDGE FROM JUROR #73
     09/20/2002    STATE'S PROPOSED JURY INSTRUCTION REGARDING
     09/20/2002   DEMONSTRATION EVIDENCE
     09/20/2002    LETTER TO JUDGE FROM JURY
     09/20/2002    LETTER TO JUDGE FROM JUROR #73
     09/20/2002    INSTRUCTION TO JURY REGARDING WITNESS TESTIFYING
     09/20/2002   OF ORDER
     09/20/2002   MOTION FOR REHEARING ON THE ISSUE OF WHETHER THE
     09/20/2002   DEFENSE OR THE STATE OF FLORIDA OPENED THE DOOR
     09/20/2002   TO CAUSE THE ADMISSIBILITY OF CERTAIN EVIDENCE
     09/24/2002   LAW ENFORCEMENT OFFICER CERTIFICATION OF WITNESS
     09/24/2002    FEE TRAVEL AND PER DIEM ALLOWANCE
     09/24/2002   LAW ENFORCEMENT OFFICER CERTIFICATION OF WITNESS
     09/24/2002    FEE TRAVEL AND PER DIEM ALLOWANCE
     09/24/2002   LAW ENFORCEMENT OFFICER CERTIFICATION OF WITNESS
     09/24/2002   FEE TRAVEL AND PER DIEM ALLOWANCE
     09/24/2002   LAW ENFORCEMENT OFFICER CERTIFICATION OF WITNESS
     09/24/2002   FEE TRAVEL AND PER DIEM ALLOWANCE
     09/24/2002   QUESTIONS FROM JURY
     09/24/2002   QUESTIONS FROM JURY
     09/24/2002   NOTES FROM TRIAL
     09/25/2002   MOTION TO REOPEN DEFENDANT'S CASE AND ALLOW PREV
     09/25/2002   LISTED STATE WITNESSES TO TESTIFY
     09/25/2002   LETTER FROM JURORS
     09/25/2002   DEFENDANT'S MOTION FOR SANCTIONS AGAINST STATE F
     09/25/2002   WITHHOLDING CRITICAL TESTIMONY, DEMAND FOR RIeRA
     09/25/2002   HEARING, AND MOTION FOR MISTRIAL
     09/25/2002   MOTION FOR RE-HEARING ON ISSUE OF ADMISSIBILITY
     09/25/2002   COMPACT DISC PRESENTATION
     09/25/2002   JURY INSTRUCTIONS
     09/25/2002   VERDICT -- GUILTY OF MANSLAUGHTER, A LESSER INCL
     09/25/2002   OFFENSE
     09/25/2002   DEFENDANT SIGNED NOTICE FOR 102902 SENTENCING
     09/25/2002   DISPOSITION           SET FOR 10292002                 00000
     09/25/2002   *PLACED ON DIV I DISPOSITION DOCKET PER JUDGE*
     09/25/2002   PSI ORDERED - PSI DUE 101802
     09/26/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/26/2002     HARMON'S PHOTOS AR NI CE IN THE AMOUNT OF $ 85.
     09/26/2002   // PAID
     09/26/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/26/2002     EXPERT DIGITAL SOLUTIONS, INC. IN THE AMOUNT 0
     09/26/2002   $275.00 // PAID
     09/26/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     09/26/2002     HARMON'S PHOTOS AR NICE IN THE AMOUNT OF $ 8.5
  Date: 11/25/2002
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prgrm name*
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                       J.K.   II   BUDDY" IRBY, CLERK .oF THE C.oURT
                                    ALACHUA C.oUNTY, FL.oRIDA
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:ASE #: 2000-02753-CFA                                                      PAGE: 21
 ** CRIMINAL ACTI.oN D.oCKET -------------------------~--------------------------
     DATE          DESCRIPTI.oN                                     D.oC PG SEQ
     09/26/2002     // PAID
     09/27/2002    .oRDER GRANTING M.oTI.oN F.oR PAYMENT .oF STATE TRAVE
     09/27/2002    / PAID // PIERCE
     09/27/2002   ALACHUA C.oUNTY ATT.oRNEY'S ANN.oUNCEMENT
     09/27/2002    C.oNCERNING PAYMENT .oF STATE WITNESS
     09/27/2002   M.oTI.oN F.oR PAYMENT F.oR TRAVEL .oF STATE WITNESS
     09/27/2002   .oRDER GRANTING M.oTI.oN F.oR PAYMENT .oF STATE TRAVE
     09/27/2002    / PAID // PIERCE
     09/27/2002   ALACHUA C.oUNTY ATT.oRNEY'S ANN.oUNCEMENT
     09/27/2002    C.oNCERNING PAYMENT .oF STATE WITNESS
     09/27/2002   M.oTI.oN F.oR PAYMENT F.oR TRAVEL .oF STATE WITNESS
     09/27/2002   M.oTI.oN F.oR PAYMENT .oF'L.oDGING F.oR A STATE WITNES
     09/27/2002   ALACHUA C.oUNTY-ATT.oRNEY'S ANN.oUNCEMENT
     09/27/2002   C.oNCERNING PAYMENT .oF C.oSTS
     09/27/2002   .oRDER GRANTING M.oTI.oN F.oR PAYMENT .oF L.oDGING F.oR
     09/27/2002   WITNESS / PAID // PIERCE
     09/27/2002   M.oTI.oN F.oR PAYMENT .oF STATE WITNESS
     09/27/2002   ALACHUA C.oUNTY ATT.oRNEY'S ANN.oUNCEMENT
     09/27/2002   C.oNCERNING PAYMENT .oF STATE WITNESS
     09/27/2002   .oRDER GRANTING M.oTI.oN F.oR PAYMENT .oF STATE TRAVE
     09/27/2002   /PAID // PIERCE
     09/30/2002   RETURN .oF SERVICE , SERVED
     09/30/2002   RETURN .oF SERVICE' - SERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     09/30/2002   RETURN .oF SERVICE - UNSERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     09/30/2002   RETURN .oF SERVICE - UNSERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     09/30/2002   RETURN .oF SERVICE - SERVED
     10/03/2002   M.oTI.oN F.oR NEW TRIAL
     10/07/2002   REQUEST F.oR PAYMENT {L.oCAL CRIMINAL JUSTICE FUND
     10/07/2002      LEBLANC C.oURT REP.oRTING SERVICES IN THE AM.oUNT
     10/07/2002   $105.00//PAID
     10/07/2002   REQUEST F.oR PAYMENT {L.oCAL CRIMINAL JUSTICE FUND
     10/07/2002      LEBLANC C.oURT REP.oRTING SERVICES IN THE AM.oUNT
     10/07/2002   $54.25//PAID
     10/07/2002   REQUEST F.oR PAYMENT (L.oCAL CRIMINAL JUSTICE FUND
     10/07/2002      LEBLANC C.oURT REP.oRTING SERVICES IN THE AM.oUNT
     10/07/2002   $21.00//PAID
     10/07/2002   REQUEST F.oR PAYMENT (L.oCAL CRIMINAL JUSTICE FUND
     10/07/2002      LEBLANC C.oURT REP.oRTING SERVICES IN THE AM.oUNT
     10/07/2002   $77.00//PAID
     10/07/2002   REQUEST F.oR PAYMENT (L.oCAL CRIMINAL JUSTICE FUND
         Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 31 of 121
prgrm name*                                                   ~
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                      J.K.   II   BUDDY II IRBY, CLERK OF THE COURT
                                   ALACHUA COUNTY, FLORIDA
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $10s.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $17s.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $10s.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE ,FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $s6.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $226.18//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $177.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $24s.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $101.s0//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $119.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $178.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $24s.70//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $sO.40//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $10e.sO//PAID
     10/07/2002   REQUEST 'FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $e4.00//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
     10/07/2002    LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
     10/07/2002   $134.75//PAID
     10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
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 ** CRIMINAL ACTION DOCKET -------------------------------------------------- __
     DATE         DESCRIPTION                                     DOC PG SEQ
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      10/07/2002     LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
      10/07/2002    $197.75//PAID
      10/07/2002    REQUEST FOR PAYMENT {LOCAL CRIMINAL JUSTICE FUND
      10/07/2002     LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
      10/07/2002    $76.27//PAID
      10/07/2002    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      10/07/2002     LEBLANC COURT REPORTING SERVICES IN THE AMOUNT
      10/07/2002    $10S.00//PAID
      10/07/2002    REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      10/07/2002     LIGHT-WORK LABS IN THE AMOUNT OF $ 20.00//PAID
      10/07/2002   ORDER FOR PAYMENT OF EXPERT WITNESS FEE TO BERNA
      10/07/2002   MARIA, M.D.M.B.A. IN THE AMOUNT OF $5500.00 // L
      10/07/2002   MOTION FOR PAYMENT OF EXPERT WITNESS FEE
      10/07/2002   ALACHUA COUNTY ATTORNEY'S ANNOUNCEMENT CONCERNIN
      10/07/2002    PAYMENT OF EXPERT WITNESS
      10/07/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      10/07/2002     WRIGHT TRAVEL IN THE AMOUNT OF $ 572:50//PAID
      10/08/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      10/08/2002     ESQUIRE DEPOSITION SERVICES IN THE AMOUNT OF $
      10/08/2002   // PAID'
      10/08/2002   REQUEST FOR PAYMENT (LOCAL CRIMINAL JUSTICE FUND
      10/08/2002     HARMON'S PHOTOS AR NICE IN THE AMOUNT OF $ 126
      10/08/2002   // PAID
      10/08/2002   MOTION FOR PAYMENT OF EXPERT WITNESS FEE
      10/08/2002   ALACHUA CO. ATTORNEY'S ANNOUNCEMENT CONCERNING P
      10/08/2002   OF EXPERT WITNESS
      10/08/2002   ORDER FOR PAYMENT OF EXPERT WITNESS FEE / $3300.
      10/08/2002   GAINESVILLE PATHOLOGY GROUP // LOTT //////// PAl
      10/15/2002   REQUEST FOR PAYMENT {LOCAL CRIMINAL JUSTICE FUND
      10/15/2002     BERNARD L. MARIA, MD., M.B.A. IN THE AMOUNT OF
      10/15/2002   $7955.49/PAID /
      10/15/2002   MOTION FOR PAYMENT OF EXPERT WITNESS FEE
      10/15/2002   ALACHUA COUNTY ATTORNEY'S ANNOUCEMENT CONCERNING
      10/15/2002   PAYMENT OF EXPERT WITNESS
      10/15/2002   ORDER FOR PAYMENT OF EXPERT WITNESS FEE IN THE A
      10/15/2002   OF $8,000.0 TO STEPHEN J. NELSON, MD., PA,//PIER
      10/15/2002   MOTION FOR PAYMENT OF STATE WITNESS
      10/15/2002   ALACHUA COUNTY ATTORNEY'S ANNOUNCEMENT
      10/15/2002   CONCERNING PAYMENT OF STATE WITNESS
      10/15/2002   ORDER GRANTING MOTION FOR PAYMENT OF STATE TRAVE
      10/15/2002   / PAID // LOTT
      10/15/2002   MOTION FOR PAYMENT OF STATE WITNESS
      10/15/2002   ALACHUA COUNTY ATTORNEY'S ANNOUNCEMENT
      10/15/2002   CONCERNING PAYMENT OF STATE WITNESS
      10/15/2002   ORDER GRANTING MOTION FOR PAYMENT OF STATE TRAVE
   Date: 11/25/2002
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                         J.K. "BUDDY" IRBY, CLERK OF THE COURT
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 ** CRIMINAL ACTION DOCKET ------------------------------------------ _________ _
     DATE           DESCRIPTION                                            DOC PG SEQ
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    10/15/2002    / PAID // LOTT
    10/17/2002   LETTER TO JUDGE LOTT FROM PROBATION AND PAROLE
    10/17/2002   ORDER SETTING DISPOSITION DATE / FRIDAY, 8 NOVEM
    10/17/2002    2002 AT 9:00 AM // LOTT
    10/29/2002   ORDER DENYING MOTION FOR NEW TRIAL // LOTT
    10/30/2002   MOTION FOR JUDGEMENT FOR COSTS
    10/30/2002   NOTICE OF HEARING ON 110802 AT / 9:00AM / LOT
    11/01/2002   ADDENDUM TO MOTION FOR JUDGMENT FOR COSTS
    11/07/2002   SECOND ADDENDUM TO MOTION FOR JUDGEMENT FOR COST
    11/08/2002   MOTION FOR ADVANCE PAYMENT OF STATE WITNESS I PA
    11/08/2002   ALACHUA COUNTY ATTORNEY'S ANNOUNCEMENT
    11/08/2002   CONCERNING PAYMENT OF STATE WITNESS
    11/08/2002   ORDER GRANTING M0TION FOR PAYMENT OF STATE WITNE
    11/08/2002   //PAID          ..
    11/08/2002   PICTURE OF VICTIM
    11/08/2002   TRANSCRIPT OF MOTION TO DISMISS INDICTMENT ON 09
    11/08/2002   BEFORE JUDGE LOTT
    11/08/2002   PSI (ENVELOPE)
    11/08/2002   DECORUM ORDER AS TO MEDIA;
    11/08/2002    -MEDIA PERSONNEL SHALL REMAIN IN THE GALLERY SEA
    11/08/2002   DURING THE JURY SELECTION, TRIAL OR HEARING
    11/08/2002   -GAINESVILLE SUN IS THE ONLY MEDIA WHO HAS REQUE
    11/08/2002   AND HAS BEEN AUTHORIZED TO BRING A STILL CAMERA
    11/08/2002   THE COURTROOM FOR JURY SELECTION, TRIAL OR HEARl
    11/08/2002   -ONLY ONE STILL CAMERA WILL BE ALLOWED IN COURTR
    11/08/2002   -NO INTERVIEWS RELATED TO THIS TRIAL/HEARING WIL
    11/08/2002   CONDUCTED INSIDE THE COURTHOUSE // LOTT
    11/08/2002   AMENDED DECORUM ORDER AS TO MEDIA // LOTT
    11/08/2002   PRESENT WITH ATTORNEY                                    00000
    11/08/2002   TRIAL TYPE/JURY AS TO CNT:                               00000 001
    11/08/2002   DEF PLED NOT GLTY AS TO CNT:                             00000 001
    11/08/2002   DEFENDANT FOUND GUILTY BY JURY AS TO CNT:                00000 001
    11/08/2002   ADJUDICATED GUILTY              AS TO CNT:               00000 . 001
    11/08/2002   DEFENDANT SENTENCED AS TO CNT:                           00000 001
    11/08/2002   DEFENDANT ASSESSED      314.00 AS TO CNT:                00000 001
    11/08/2002   DEF SENTENCED TO PRISON     15 Y m d AS TO CNT:          00000 001
    11/08/2002   DEF GIVEN CREDIT FOR TIME SRVD 0347 days ON CNT          00000 001
    11/08/2002   ORDER ESTABLISHING MONETARY SUMS - TOTAL SUMS OR
    11/08/2002   SHALL BE PAID THROUGH THE CLERK OF COURT IN FULL
    11/08/2002   //LOTT
    11/08/2002   VICTIM NOTIFICATION DATA SHEET
    11/08/2002   RESTITUTION LIEN ORDER - EVIDENTIARY HEARING TO
    11/08/2002   DEFENDANT DOES NOT WAIVE HIS PRESENCE
    11/08/2002   COURT RESERVES AND RETAINS ·JURISDICTION AS TO
    11/08/2002   RESTITUTION // LOTT
  Date: 11/25/2002
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                     J.K. "BUDDY" IRBY, CLERK OF THE COURT
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 ** CRIMINAL ACTION DOCKET ---------------------------------------------------­
     DATE         DESCRIPTION                                     DOC PG SEQ
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     11/08/2002 SCORE SHEET//TOTAL 181.2
     11/08/2002 AMENDED JUDGEMENT AS TO CRIME // LOTT
                OR BOOK: 2552 OR PAGE: 1194
     11/08/2002 ORDER REQUIRING TRANSCRIPTION OF TRIAL TESTIMONY
     11/14/2002 DOC COMMITMENT PACKET SENT TO ASO 11-13-2002//B
     11/14/2002 ADJUDICATORY JUDGMENT OF 110802
                OR BOOK: 2552 OR PAGE: 1195
     11/15/2002 REOPENED CASE CLOSED 11082002                             00000
     11/15/2002 NOTICE OF HEARING ON 112202 AT / 9:00 AM ./ LO
     11/15/2002 MOTION FOR SUPERSEDEAS BOND
     11/20/2002 NOTICE OF FILING
     11/22/2002 APPEAL FILED 11222002                                     00000
     11/22/2002 COURT MINUTES - MOTION.FOR SUPERSEDEAS BOND ON C
     11/22/2002 NUMBER 01-2000CF2753A, 01-2000CF2660A - RULING:
     11/22/2002 P.D APPOINTED FOR APPEAL
     11/22/2002 APPLICATION FOR APPOINTMENT OF PUBLIC DEFENDER A
     11/22/2002 AFFIDAVIT OF INDIGENCY & PUBLIC DEFENDER APPOINT
     11/22/2002 //LOTT
     11/22/2002 NOTICE OF APPEAL REGARDING JUDGMENT/SENTENCE
     11/22/2002 DIRECTIONS TO THE CLERK
     11/22/2002 DESIGNATION TO REPORTER AND REPORTER'S ACKNOWLED
     11/22/2002 ***PUBLIC DEFENDER PUT ON AS SPECIAL PERSON***
     11/22/2002 STATEMENT OF JUDICIAL ACTS TO BE REVIEWED
     11/22/2002 DESIGNATION OF PUBLIC DEFENDER, SECOND JUDICIAL
     11/22/2002 FOR THE HANDLING OF APPEAL/FILED BY GORDON GROLA
     11/22/2002 MAILED CERTIFIED COPY OF NOTICE OF APPEAL AND CO
     11/22/2002 JUDGMENT/SENTENCE TO FIRST DISTRICT COURT OF APP
     11/22/2002 ONLY TO ATTORNEY GENERAL, ATTORNEY GROLAND, & NA
     11/22/2002 PUBLIC DEFENDER SECOND JUDICIAL CIRCUIT
     11/22/2002 COPY OF SEALED APPLICATION & AFFIDAVIT FOR SEARC
     11/22/2002 SEARCH WARRANT/RETURN PLACED IN FILE FROM COMPAN
     11/22/2002 2000-2660-CFA
            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 35 of 121
                                      o      Evidence Inventory for 01-2000-CF-0027S3-A
                                                                                            0
                                             OF FLORIDA vs HERLIHY, BRIAN
DEFENDANT HERLIHY, BRIAN
 D. A     DOCUMENTS                               2 page copy of a Diagram of Apartment and bed (MOVED TO VOLUME UIN TRIAL AS STATE'S 62
 850542    @ ICLERK/CRIMINALlCRIMINAL EVIDENCE VAULTI

STATE OF FLORIDA
 S. 1     DOCUMENTS                          1 page original titled 'Consent to Search" dated 8I2J2000 for residence search ( (MOVED TO VOLU~
                                            STATE'S 72).
 850544    @ ICLERK/CRIMINALlCRIMINAL EVIDENCE VAULTI
          DOCUMENTS                               1 page originallitled ·Consent to Search" dated 8I2J2000 for vehicle search (NOT USED IN TRIAL).
tL~5       @ ICLERKlCRIMINALlCRIMINAL EVIDENCE VAULTI

 S. 3     DOCUMENTS                         1 page original of a document titled 'Waiver" Case Report No. 00-13656 dated 8I2J2000 for Brian He
                                            VOLUME UIN TRIAL AS STATE'S 71).
 850546    @ ICLERKlCRIMINALlCRIMINAL EVIDENCE VAULTI




                                                                                         Page 1 of 1
            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 36 of 121
                                   Q                                                      Q
                                       Evidence Inventory for 01 M2000-CF-002753·A
                                        OF FLORIDA vs HERLIHY. BRIAN
DEFENDANT HERLIHY, BRIAN
 D. 1     PHOTOGRAPH                        1 4 by 6 color photo of a white bear wearing white boxers with red hearts on it. Attached to bear is a
                                            Thank You I just wanted to say thank you for everything. Crystal
 852202    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULT/
 D. 2     PHOTOGRAPH                        1 4 by 6 color photo of a white bear on a table in front of a lamp.
 852204    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 D. 3     DOCUMENTS                         7 pg. copy of a Curriculum Vllae of Dr. John Jerome Plunkett dated January 4,2001.

_2803      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 D. 4     ODCUMENTS                         2 pg. copy of a Curriculum Vitae of Ronald H. Uscinsk!. M.D.• FAC.S.
 852802    @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAULTI

 D. 5     DOCUMENTS                         13 pg. copy of Shands Hospital at AGH Medical Records for Qulrello, Crystal dated 0712512000.
 851389    @ ICLERKICRIMINALICRIMINAl EVIDENCE VAULTI

 D. 6     DOCUMENTS                         11 pg. copy of Shands Hospital at AGH Medical Records of Quirello. Crystal dated 07/1312000.
 851390    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 D. A     PHOTOGRAPH                        1 4 by 6 color photo of a bed with various items on it There is a radio in the bottom left hand comer f;
 853998    @ ICLERKICRIMlNAUCRIMINAL EVIDENCE VAULTI

 D. B     PHOTOGRAPH                        1 4 by 6 color photo of a bed with various items on it and a ceiling fan above it.
 853999    @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAULTI

 D. C     PHOTOGRAPH                        1 4 by 6 color photo of a bed with a clear plastic bag near foot of bed with blankets in it

~ooo       @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 D. F     PHOTOGRAPH                        1 enlarged color photo of a brain. ( Identical to Defense G)
 854001    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 D. G     PHOTOGRAPH                        1 enlarged color photo of a brain. ( Identical to Defense F)
 854002    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

STATE OF FLORIDA
 S. D     DOCUMENTS                         1 pg. copy of a Shands Health Care Delivery Information Form.
 854003    @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAULTI

 S. 1     DOCUMENTS                         306 pg. copy of Shands Health Care Medical Records for Quirello. Robert.
 851391    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI


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                                     "    Evidence Inventory for 01..2000·CF-002753·A          0
                                           OF FLORIDA vs HERLIHY, BRIAN
STATE OF FLORIDA
 S. 2A       PHOTOGRAPH                        1 4 by 6 color photo of a white male holding a baby.
 851393       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 2B       PHOTOGRAPH                        1 4 by 6 color photo of a baby wearing pajamas with airplanes on the design looking straight at came
 851394       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 2C       PHOTOGRAPH                        1 4 by 6 color photo of a baby wearing pajamas with airplanes on the design and looking at his hand.
,,1395        @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

~    20      PHOTOGRAPH                        1 4 by 6 color photo of a baby looking at a mobile wearing blue and white striped shirt.
 851396       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 2E       PHOTOGRAPH                        1 4 by 6 color photo of a baby looking at a mobile wearing a white shirt with a fish deSign.
 851397       @ ICLERKlCRIMINALlCRIMINAL EVIDENCE VAULTI

 S. 2F       PHOTOGRAPH                        1 4 by 6 color photo of a close up of a baby looking at 8 mobile wearing a white shirt with a fish desi,
 851399       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 2G       PHOTOGRAPH                        1 4 by 6 color photo of a baby in a baby tub.
 851400       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 3        DOCUMENTS                         1 pg. copy of Boys: Birth to 36 months physical growth NCHS Percentiles Name: Robert Ouirello.
 851401       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 4        DOCUMENTS                         1 pg. copy of Boys: Birth to 36 months physical Growth NCHS Percentiles Name: Ouerillo Record #
_1402         @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

. S. ,.5 ,   DOCUMENTS                         1 Doctor's Chart #15773 Labeled 02 au auirello, Crystal containing 49 pages of medical records.
 851403       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 6        DOCUMENTS                         1 Customer Copy of 8 Sales Slip from Duds N Suds for $6.90 customer name: Crystal 0 Ou/rello.
 851404       ® ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 7        DOCUMENTS                         1 Fast Pay Receipt from Sprint #3 2320 SW Archer Rd. Gainesville, FL. dated 08102100.
 851405       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 8        DOCUMENTS                         1 dart< blue ESPN baby's outfit.
 851407       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI




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                                  o    Evidence Inventory for 01·2000-CF-002753-A
                                                                                      0
                                       OF FLORIDA vs HERLIHY, BRIAN
STATE OF FLORIDA
 S. 9     MAGNETIC MEDIUM                  1 white audio cassette tape labeled 1015 SN 9 Sl Al1 00-2753CFA 911 Brian Herlihy 00-13656.
 851438    @ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 10    DOCUMENTS                        30 pg. copy of Curriculum Vitae of Dr. Anne Dickison, M.D.
 851626    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 11    LABORATORY SAMPLES               1 manilla envelope labeled 105200,00-13656 BL-2, 119-1·16 Purple Top Blood From R. QuireUo dale

~'677      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

~'2       LABORATORY SAMPLES               1 white envelope labeled 105200,00-13656.388-1-2 dated 412612001.
 851678    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 13    LABORATORY SAMPLES               1 white envelope labeled 105200,00-13656,388-1-3 dated 0412612001.
 851679    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 14    LABORATORY SAMPLES               1 white envelope labeled 105200,00-13656,388-1-4 dated 0412612001.
 851693    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 15    FIBER/SAMPLES                    1carpet cut out grey in color labeled 200104028441, Ex 388-1-10,10 DeC 01 NMP.
 851694    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 1SA   HOUSNARES                        1 pillow case with design and black trim labeled 20010402844-001, Ex 368-1-11, 10 CEC 01.
 852175    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

                                           1 white pillow labeled 20010402844, Ex 388-1.", 10 CEC 01.
_2174
 S. 168   HOUSNARES
           @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 17A   HOUSWARES                        1 white pillOW case labeled 20010402844-001, Ex 388-1-12, 10DEC 01.
 852171    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 17B   HOUSWARES                        1 white pillow with flower design labeled 20010402844, Ex 388-1-12.
 852172    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 1SA   HOUSWARES                        1 pillow case with design labeled 20010402844-001, Ex 388-1-13A, 10 DEC 01.
 851870    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 18B   HOUSNARES                        1 tan color pillow case labeled 20010402844-001, Ex 388-1·13B, 10 DEC 01.
 851869    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI




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                                          C     Evidence Inventory for 01-2000-CF-002753-A
                                                                                                  Q
                                                OF FLORIDA vs HERLIHY, BRIAN
 STATE OF FLORIDA
  S.18C      HOUSWARes                               1 white pillow labeled 20010402844-001. Ex 388-1-13C,1 0 DEC 01.
  851868      @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S. 19A     HOUSWARES                               1 white pillow cover labeled 20010402844-001, Ex 388-1-15A, 10Dec 01.
  851861      @ ICLERKlCRIMINAUCRIMINA~ EVI~eNce VAULTI

  S. 198     HOUSWARES                               1 pillow with flower design labeled 20010402844-001, Ex 388-1-158.10 DEC 01.
l1li,;1865    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

"'20         HOUSWARES                        1 brown bag labeled 105200, 00-13656, 388-1-19 containing 1 throw pillow with design and black trln
                                              20010402844-001, Ex 388-1-19,10 DEC 01.
   8521n      @ ICLERKlCRIM1NAUCRIMlNAL EVIDENCE VAULTI
   S.21A     CLOTHINGIBELONGINGS              1 brown bag labeled 2001~02844-001, Ex 388-1-32 aod, 10 DEC 01 containing 1 white under shirt la
                                              20010402844-001, Ex 388-1·32A, 10 DEC 01.
   852194     @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

   S. 218    HOUSWARES                        1 brown bag labeled 20010402844-001, Ex 388-1-32 aod, 10 DEC 01 containing 1 white towellabelec
                                              388-1-320, 10 DEC 01.
   852197     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI
   S. 21C    HOUSWARES                        1 brown bag labeled 20010402844-001, Ex 388-1·32 aod, 10 DEC 01 containing 1 white hand towel \I
                                              labeled 20010402844-001. Ex 388-1-32b, 10 DEC 01.
   852198     @ ICLERKICRIMINAUCRIMINAL EVIDENCe VAULTI
   S. 21D    HOUSWARES                               1 brown bag labeled 20010402844-001, Ex 388-1·32 aod, 10 DEC 01 containing 1 white hand towel \01
                                                     20010402844-001, Ex 388-1·32C, 10 DEC 01.
   852196     @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

e     21E

  852199
             HOUSWARES                               1 brown bag labeled 20010402844-001, Ex 388-1·32 aod, 10 DEC 01 containing 1 blue plasUc Walm.
                                                     labeled 20010402844-001, Ex 388-1-32,10 DEC 01.
              @ IClERKICRIMINAUCRIMINAL EVIDENCE VAULTI
   S.22      HOUSWARES                                1 brown bag labelded 105200,00-13656,388-1·33 containing 1bed comforter.
   851860     @/CLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

   S.23A     HOUSWARES                                1 brown bag labeled 105200, 00-13656, 388-1·34 containing 1 while and red striped bed sheet.
   852179     @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

   S.238     HOUSWARES                                1 brown bag labeled 105200, 00-13656. 388-1·34 containing 1 white and red striped bed sheet with e
   852178     @ ICLERKICRIMlNAUCR1MlNAL EVIDENCE VAULTI

   S.24A     PHOTOGRAPH                               1 4 by 6 color photo of an apartment building A.
   851881     @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI



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                                          Evidence Inventory for 01·2000·CF-002753·A
                                                                                               g
                                          OF FLORIDA vs HERLIHY, BRIAN
 STATE OF FLORIDA
  S.24B      PHOTOGRAPH                       1 4 by 6 color photo of a close up of a stair way.
  851882      @ ICLERKlCRlMINAUCRIMINAL EVIDENCE VAULTI

  S.24C      PHOTOGRAPH                       1 4 by 6 color photo of a close up of a balcony.
  851883      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULT'

  S.24D      PHOTOGRAPH                       1 4 by 6 color photo of a bed with   a canopy.
~1884         @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

. , 24E      PHOTOGRAPH                       1 4 by 6 color photo of a bed with a pillow at the foot of the bed .
  851885      @ ICLERK/CRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24F      PHOTOGRAPH                       1 4 by 6 color photo of close up of a dresser with a baby bottle on it.
  851886      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S. 24G     PHOTOGRAPH                       1 4 by 6 color photo of picture of a bed with several items on it.
  851887      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24H      PHOTOGRAPH                       1 4 by 6 color photo of a bed with   a closet door open.
  851888      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.   241   PHOTOGRAPH                       1 4 by 6 color photo of a white stain on grey carpet.
  851889      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24J      PHOTOGRAPH                       1 4 by 6 color photo of a bed with comforter.

_'890         @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24K      PHOTOGRAPH                       1 4 by 6 color photo of an open bathroom door with sink visible.
  851891      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24L      PHOTOGRAPH                       1 4 by 6 color photo of a shower with toilet to the left.
  851892      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

  S.24M      PHOTOGRAPH                       1 4 by 6 color photo of close up of bathroom.
  851893      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTl

  S.24N      PHOTOGRAPH                        1 4 by 6 color photo of a door way.
  851894      @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI




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                                   Q                                                        Q
                                        Evidence Inventory for 01-2000-CF-0027S3-A
                                        OF FLORIDA vs HERLIHY I BRIAN
STATE OF FLORIDA
 S.240    PHOTOGRAPH                        1 4 by 6 color plloto of a closet with various items inside.
 851895    @ ICLERK/CRIMINAUCRIMINAL EVIDENCE VAULTI

 S.24P    PHOTOGRAPH                        1 4 by 6 color photo of a blue baby bag.
 851896    @ ICLERK/CRIMINALlCRIMINAL EVIDENCE VAULTI

 S.25     HOUSWARES                         1 s!'\"IaU brown bag labeled 105200.00-13656,388-1·1 containing 1 clear baby bottle with fish on it cor
 852201    @ ICLERKICRIMINALICRIMINAL EVIDENCE VAULTI


"26A
 851872
          PHOTOGRAPH                        1 color polaroid of the foot of a bed. Labeled 1
           @ ICLERK/CRIMINAUCRIMINAL EVIDENCE VAULTI

 S.26B    PHOTOGRAPH                        1 color polaroid of the head of a bed with a radio on it facing the camera. Labeled 2
 851873    @ !CLERK/CRIMINALICRIMINAL EVIDENCE VAULTI

 S.26C    PHOTOGRAPH                        1 color polaroid of a bed with a radio on it facing away from the camera. Labeled 3
 851874    @ !CLERK/CRIMINALICRIMINAL EVIDENCE VAULTI

 S.26D    PHOTOGRAPH                        1 color polaroid of a dresser with a baby bottle on the comer. Labeled 4
 851875    @ !CLERK/CRIMlNALICRIMlNAL EVIDENCE VAULTI

 S.26E    PHOTOGRAPH                        1 color polaroid of a pillow at the foot of a bed. Labeled 5
 851876    @ ICLERK/CRIMINALICRIMINAL EVIDENCE VAUlTI



_18n
 S.26F    PHOTOGRAPH                        1 color polaroid of the railing at tile foot of the bed. labeled 6
           @ ICLERK/CRIMINALICRIMINAL EVIDENCE VAULTI

 S.26G    PHOTOGRAPH                        1 color polaroid of grey carpet with a white stain. Labeled 7 ­
 851878    @ ICLERKICRIMINALICRIMINAL EVIDENCE VAULTI

 S.26H    PHOTOGRAPH                        1 color polaroid of a night stand with a baby bag on It. Labeled 8
 851879    @ ICLERK/CRIMINALICRIMINAL EVIDENCE VAUlTI

 S.27     PHOTOGRAPH                        1 TOK HG ultimate TC-30 VHS video tape labeled 00-13656.
 851928    @/CLERK/CRIMINALICRIMINALEVlDENCEVAULT/

 S.28A    PHOTOGRAPH                        1 4 by 6 color photo of an apartment building A.
 851929    @/CLERKICRIMINALlCRIMINAL EVIDENCE VAULTI




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                                    Q                       '
                                    Evidence Inventory for 01-2000~F-002753-A
                                          OF FLORIDA vs HERLIHY, BRIAN
 STATE OF FLORIDA
  S, 28 B   PHOTOGRAPH                        1 4 by 6 color photo of bathroom sink and counter with black trash can on counter.
  851931     @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAULTI

  S.28C     PHOTOGRAPH                        1 4 by 6 color photo of bathroom sink and counter with black trash can on counter. (identical to S. 21
  851953     @/CLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28D     PHOTOGRAPH                        1 4 by 6 color photo of a shower with the curtain half closed.
  851932     @ IClERKlCRIMINAlICRIMINAL EVIDENCE VAULTI

• . 28E     PHOTOGRAPH                        1 4 by 6 color photo of a box of Pampers Saby Fresh wipes on counter with various other items.
  851933     @ ICLERKlCRIMINAUCRIMINAl EVIDENCE VAUlTI

  S.28F     PHOTOGRAPH                        1 4 by 6 color photo of a bed with a clear plastic bag at foot of bed containing blankets.
  851934     @ IClERKlCRIMINAUCRIMINAl EVIDENCE VAULTI

  S.28G     PHOTOGRAPH                        1 4 by 6 color photo of a night stand next to a bed with a blue baby bag on it.
  851935     @ IClERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28H     PHOTOGRAPH                        1 4 by 6 color photo of close up of bed with various items on it.
  851936     @ ICLERKlCRIMINAUCRIMINAl EVIDENCE VAUlTI

  S.281     PHOTOGRAPH                        1 4 by 6 color photo of a dresser with mirror attached
  851937     @ ICLERKlCRIMINAlICRIMINAl EVIDENCE VAUlTI

  S.28J     PHOTOGRAPH                        1 4 by 6 color photo of the railing at the foot of a bed with a white plasitc cup on the floor.
f111939      @ ICLERKlCRIMINAlICRIMINAl EVIDENCE VAULTI

  S.28K     PHOTOGRAPH                        1 4 by 6 color photo of towel and a blue baby bag next to it.
  851938     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28l     PHOTOGRAPH                        1 4 by 6 color photo of a white towel with red strip on dresser.
  851940     @ lClERKlCRIMINAUCRIMINAl EVIDENCE VAULTl

  S.28M     PHOTOGRAPH                        1 4 by 6 color photo of grey carpet with a white stain on it.
  851941     @ lClERKlCRIMINAUCRIMINAL EVIDENCE VAUlTl

  S.28N     PHOTOGRAPH                        1 4 by 6 color photo of a bed with close up of clear plastic bag containing blankets on the foot of a b
  851942     @ lCLERKlCRIMINALlCRIMINAL EVIDENCE VAULTI




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                                    QEvidence Inventory for                                  '-I
                                                                                01-2000-CF-002753-A
                                         OF FLORIDA va HERLIHY, BRIAN
STATE OF FLORIDA
 S.280     PHOTOGRAPH                        1 4 by 6 color photo of a glass table with an answering machine on It, CO, and a pair of baby socks.
 851943     @ ICLERKlCRIMINAlJCRIMINAL EVIDENCE VAULTI

  S.28P    PHOTOGRAPH                        1 4 by 6 color photo of a bed with a brown cloth with black pok a dots on it on a bed.
'851944     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.28Q     PHOTOGRAPH                        1 4 by 6 color photo of a bed with various items on it.
.1945       @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

1If' 28R   PHOTOGRAPH                        1 4 by 6 color photo of a close up of a brown cloth with black pock a dots and a wrench handle showl!
 851946     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28S    PHOTOGRAPH                        1 4 by 6 color photo of grey carpet with a white statn on it.
 851947     @ ICLERKlCRIMINAlJCRIMINAL EVIDENCE VAULTI

 S.28T     PHOTOGRAPH                        1 4 by 6 color photo of a closet with a baby's outfit hanging in the center of the closet.
 851948     @/CLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28U    PHOTOGRAPH                        1 4 by 6 color photo of a blue plastic bag hanging in closet with clothing in it.
  851949    @ ICLERKlCRIMINAL/CRIMINAL EVIDENCE VAULTI

  S.28V    PHOTOGRAPH                        1 .. by 6 color photo of a sbiped baby's outfit on a bed.
  851950    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28W    PHOTOGRAPH                        1 .. by 6 color photo of white pad with blue trim laying on grey carpet.

e    951

  S.28X
            @ ICLERKlCRIMINAlJCRIMINAL EVIDENCE VAULTI

           PHOTOGRAPH                        1 4 by 6 color photo of a bed frame on grey carpet.
  851952    @ ICLERKlCRIMINAlJCRIMINAL EVIDENCE VAULTI

  S.28Y    PHOTOGRAPH                        1 4 by 6 color photo of a white stain on grey carpel
  851956    @ ICLERKlCRIMlNAUCRIM1NAL EVIDENCE VAULTI

  S.28Z    PHOTOGRAPH                        1 4 by 6 color photo of a bed frame with a white plastic cup under It.
  851957    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.28M    PHOTOGRAPH                        1 4 by 6 color photo of bed frame with dresser In the back ground.
  851958    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI




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                                                                                             Q
                                          OF FLORIDA vs HERLIHY, BRIAN
STATE OF FLORIDA
 S. 2888     PHOTOGRAPH                       1 4 by 6 color photo of a room with a plastic white cup lying in the middle of the room.
 851959       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULT/

 S.28CC      PHOTOGRAPH                       1 4'by 6 color photo of a dress with   amimlr attached with two pillows on the dresser.
 851960       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.28DD      PHOTOGRAPH                       1 4 by 6 color photo of grey carpet with a square section cut out.

.t    1961    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

wr.   28EE
 851962
             PHOTOGRAPH                       1 4 by 6 color photo of dose up of a sqaure cut out of grey carpet.
              @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S. 28FF     PHOTOGRAPH                       1 4 by 6 color photo of an open closet door.
 851963       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.29        HOUSWARES                        1 white pillow inside of a red and while striped pillow case. (Identical to S. 30)
 852169       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.30        HOUSWARES                        1 white pillow inside of a red and while striped pillow case. (Identical to S. 29)
 852168       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.    31    HOUSWARES                        1 brown bag labeled 105200, 00-13656. 388-1·17 containing a black throw pillow.
 851900       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.32        CLOTHINGIBELONGINGS              1 brown bag labeled 105200, 00-13656, 388-1·18 containing 1 black throw pillow.
_1919         @ ICLERKlCRIMINAUCRIMINAL EVIDENCE "AULTI

 S.33        CLOTHINGIBELONGINGS              1 brown bag labeled 105200,00-13656,388-1·20 containIng one striped baby's outfit with a bear on i:
 851917       @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

 S.34        CLOTHINGIBELONGINGS              1 brown bag labeled 105200, 00-13656. 388·1·21 containing a white cloth which reads Daddy's Little
  851902      @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.35       CLOTHINGIBELONGINGS               1 small brown bag labeled 105200, 00-13656, 388-1·22 containing      a pair of dar1c blue and red baby Sl
  851911      @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

  S.36       CLOTH INGIBELONGINGS              1 small brown bag labeled 105200. 00-13656, 388-1·23 containing white and brown wash cloth.
  851912      @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI




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                                           Evidence Inventory for 01-2000-CF..Q02753-A
                                           OF FLORIDA va HERLIHY, BRIAN
    STATE OF FLORIDA
    S.37      CLOTHINGIBELONGINGS              1 small brown bag labeled 105200,00-13656,388-1·24 containing a white hand towel with two red stl
    851914     @ ICLERKICRIMINAUCRIMINALEVIDENCE VAULTI

     S.38     CLOTHINGIBELONGINGS              1 brown bag labeled 105200, 00-13656, 388-1·25 containing a baby blanket with stars, moons, and b
    851908     @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.39     CLOTHINGIBELONGINGS              1 brown bag labeled 00-13656,388-1·2$ containing a black wash doth.
     851906    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

•     . 40    CLOTHINGIBELONGINGS              1 brown bag labeled 105200, 00-13656, 388-1·27 containing one white pad with blue trim.
     851916    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.41     CLOTHINGIBELONGINGS              1 brown bag labeted 105200,00-13656,388-1·28 containing a blue Winnie the Pooh baby bag.
     851974    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.42     HOUSWARES                        1 brown bag labeled 105200.00-13656,388-1-29 containing one Shands at AGH bag.
     852193    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.43     HOUSWARES                        1 brown bag labeled 105200, 00-13656, 388-1·30 containing 1 pink. green, and tan striped towel.
     852180    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.44.    CLOTHINGIBELONGINGS              1 brown bag labeled 105200, 00-13656,388-1·31 containing one red baby shirt and overall outfit mal
                                               Company on a black plastic hanger.
     852189    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S. 45    HOUSWARES                        1 brown bag labeled 105200,00-13656,388·1-35 containing a dust ruffle.
_1922          @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.46     CLOTHINGIBELONGINGS'             1 small brown bag labeled 105200,00-13656,388-1-36 containing a white and brown wash cloth.
     851915    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

     S.47     CLOTHINGIBELONGINGS              1 brown bag labeled 105200,00-13656, 388-1-37 containing 1 box of Pampers Baby Fresh Baby Wil
     851965    @ ICLERKICRIMINAUCRIMtNAL EVIDENCE VAULTI

     S.48     CLOTHtNGlBELONGINGS              1 brown bag labeled 105200, 00-13656. 388-1-38 containing a pair of white K-Swiss baby shoes.
     851903    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAUlTI

     S.49     CLOTHINGIBELONGINGS               1 brown bag labeled 105200, 00-13656, 388-1·39 containing 1 white Osh Kosh baby's oufit with shet
     851904    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAUlTI




                                                                                       Page 10 of 13
                    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 46 of 121
                                         Q Eviaence Inventory for

  STATE OF FLORIDA
    S.50         ClOTHINGlBElONGINGS              1 brown bag labeled 105200, 00-13656, 388-140 containing 1 white plastic bag of Pampers Baby FfE
                                                  unopened.
    852191        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAULTI
    S. 51        ClOTHINGIBElONGINGS              1 brown bag labeled 105200, 00-13656, 388·141 containing 1 clear plastic baby bottle.
    851910        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

    S.52         ClOTHINGlBELONGINGS              1 brown bag labeled 32,105200,00-13656,388-142 containing 1 Winnie the Pooh bowl, packet of E

_2186                                             Formula with Iron, a Winnie the Pooh Pacifier, and two white plastic tops.
                  @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

    S.53         CLOTHING/BELONGINGS              1 brown bag labeled 105200,00-13656,388-143 containing one Winnie the Pooh cup and spoon am
                                                  baby's bottle with cap and lid.
    851921        @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAUlTI
    S.54         HOUSWARES                        1 small brown bag labeled 105200, 00-13656,388-1-44 containing 2 jars of Heinz baby one Bananas
                                                  Apple Dessert
    851923        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAUlTI
    S.55         CLOTHINGIBElONGINGS              1 small brown bag labeled 105200, 00-13656, 388-145 containing one Sylvester the Cat theething ril
    851905        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

    S.56         PHOTOGRAPH                       1 4 by 6 color photo of a couch and a lamp with a Navy Seal Team hat on it and a white Teddy Bear
                                                  lamp.
    851975        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

    S. 57        PHOTOGRAPH                       1 4 by 6 color photo of a deceased baby lying face up.
    851984        @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAULTI

858              PHOTOGRAPH                       1 4 by 6 color photo of a deceased baby tying on irs stomach.
tllllllf'51983    @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAUlTI

    S.59         PHOTOGRAPH                       1 4 by 6 color photo of a skull with the skull cap pulled back exposing the brain.
    851978        @ IClERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

    S.6O         PHOTOGRAPH                       1 4 by 6 color photo of a top view of a brain.
    851980        @ ICLERKICRIMINAUCRIMINAL EVIDENCE VAULTI

    S.61         PHOTOGRAPH                        1 4 by 6 color photo of a skull with the skull cap pulled back exposing the brain.
    851981        @ ICLERKICRIMINAUCRIMINAl EVIDENCE VAUlTI

     S. 62       DOCUMENTS                        2 pg. copy of a crime scene diagram dated 812 case # 00-13656.
     852491       @ IClERKICRIM1NAUCRIMlNAL EVIDENCE VAUlTI



                                                                                             Page 11 of 13
              Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 47 of 121
                                    Q Evidence Inventory for 01.2000~F"()02753..A
                                         OF FLORIDA va HERLIHY, BRIAN
STATE OF FLORIDA
 S.83      DOCUMENTS                         19 pg. copy of the Curriculum Vitae of Bemard L. Marla M.D., M.B.A. dated July 2001.
 852492     @ ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

 S.84      DOCUMENTS                         4 pg. copy of a Curriculum Vitae of Or. Lawerenee M. Levine dated September 2002.
 852817     @ ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

  S.85     PHOTOGRAPH                        1 enlarged photo of the inside of an eye.



.88
 852618



  852819
            @ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

           PHOTOGRAPH                        1 enlarged photo of the inside of an eye.
            @ ICLERKfCRIMINALJCRIMINAL EVIDENCE VAULTI

  S.87     PHOTOGRAPH                        1 enlarged photo of the inside of an eye.
  852620    @/CLERKICRIMINALJCRIMINALEVlDENCE VAULTI

  S.68     PHOTOGRAPH                        1 enlarged photo of the inside of an eye.
  852821    @ ICLERKfCRIMINALJCRIMINAL EVIDENCE VAULTI

  S.89     PHOTOGRAPH                        1 enlarged photo of the inside of an eye with white trim lining the photo..
  852822    @ ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

  S.70     PHOTOGRAPH                        1 enlarged photo of the Inside of an eye with white trim lining the photo..
  852823    @ ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

  S. 71    DOCUMENTS                         1 pg. original Waiver case report # 0()"13858 dated 8-2-00 for Brian Herlihy.
            @ ICLERKfCRIMINALJCRIMINAL EVIDENCE VAULTI
• •2859

  S.72     DOCUMENTS                         1 pg. original ConsantTo Search Form CRt 00-13856 dated 8-2~0 for Bnan Herlihy.
  852885    @/CLERKfCRIMINALlCRIMINAL EVIDENCE VAULTI

  S.73     MAGNETIC MEDIUM                   1 TDK 060 audio tape labeled 00-13858. 119-15. (Same tape as State's 74)
  852870    @ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

  S.74     MAGNETIC MEDIUM                   1 TDK 060 audio tape labeled 00-13858, 119-15. ( Same tape as State's 73)
  852940    @ ICLERKICRIMINALJCRIMINAL EVIDENCE VAULTI

  S.75     DOCUMENTS                         1 pg. original Waiver case report #00-13858 dated 8-~0 for Brian Herfihy.
  852880    @ ICLERKlCRIMINALJCRIMINAL EVIDENCE VAULTI




                                                                                         Page 12 of 13
                                      g
                 Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 48 of 121
                                                                                              Q
                                           Evidence Inventory for 01-2000-CF-002753-A
                                            OF FLORIDA vs HERLIHY, BRIAN
    STATE OF FLORIDA
    S.7eA     HOUSWARES                         1 queen size box spring with flower design.
    853121     @ /CLERK/CRIMINAL/CRIMINAL EVIDENCE VAULTI

    S.768     HOUSWARES                         1 queen size matress with Rower design.
    853122     @ /CLERK/CRIMINAL/CRIMINAL EVIDENCE VAULTI

    S.76C     HOUSWARES                         1 black metal head board.
    853123     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

•      760    HOUSWARES                         1 black metal foot board.
    853125     @ ICLERK/CRIMINAL/CRIMINAL EVIDENCE VAULTI

    S.76E     HOUSWARES                         1 right side of a bed frame.
    853126     @/CLERK/CRIMINAL/CRIMINALEVIDENCE VAULTI

     S.76F    HOUSWARES                         1 left side of a bed frame.
    853127     @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

     S.76G    HOUSWARES                         1 center peice of a bed frame.
     853128    @ ICLERKlCRIMINAUCRIMINAL EVIDENCE VAULTI

     S.77     MISCELLANEOUS                     1 white anatomically correct doll.
     852871    @/CLERK/CRIMINAL/CRIMINAL EVIDENCE VAULTI




                                                                                          Page 13 of 13
                            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 49 of 121
                                              OEIGHTH JUDICIAL CIRCUIT




                                                                   DATE OF BlRTII:


                                                                   DATE OF 8IRTI(:               COURT NUMBER:


                                      NAME OF PAREIfT I GUARDIAN {NOTIFlED Q YES..   0   NO):




      OWARRAIfT      Q JUVENILE PO ORDER    Q CIVIL OROER                                                        BAil AMOUNT:
      QCAI'IAS

                                                                                                                 CITY:




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                                                               infant'
                                                               advised                                                                                       was          Hft~1


                                                                                                                         he initiated CPR and neede
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                           Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 50 of 121
                                                                     SUPPLEMENT                                   o


      OFFENSE DESCRlPllON:                                                                          COMPLETE STATIIT'f! I ORDINANCE NUMBER:


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                                                                                                                               and footboard of the
                                             infant                                                                                   Def stated the
                                                         ~,£~.


                                              ke at'the time and sufferin from no medical roblems.
                                             jnto h~s bathroom to use the facilities and eiited the
                                                               he didn't hear any noises. He states



                                                                                                                                               stated he
                                                                                      to him. He
                                                                              ive     CPR. He
        stated at this                oint he called 911 and continued to give breaths to the infi
        Once at the hos ital and examination was completed on the child that indica'
        h                   uries to the child that were in           with the
Fonn Dale (Revised lIDO)                 Whit! - Coul1      Yellow - Slale Attorney   2'" While - Agency       GOldell-                        PAGE_2_
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                           Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 51 of 121
                                                                               SUPPLEMENT




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       above statements made b                                      def Herlih .                      CPT Medical Director and Pediatrician



                                                                                                                                    The infant            Mil     has been
                                                                                                                                                           result in

                                                                                                         d he examined the child ersonall
                                                                                                      concluded that the infant has
                                                                                                               the blood was fresh and a new
                                                                                                                                the infant lost




       ****                                                                 0100 hrs.            X.

       di d as a result                               f the injurie$ described above. The charge against def
        Herlih                has been upgraded.
Form Dale (Revised 1100)                             While-Court       Yellow - Slate Altorney      2'" Whitt - Agency     Golden - Oetendant              PAGE
             Case 1:09-cv-00052-MP-GRJ
        H JUDICIAL CIRCU~T                       Document 21-6 Filed 03/22/11 Page 52 of 121

STAT~    OF    FLORIDA

      -VS­

HERLIHY, BRIAN PATRICK

                Defendant                                                  De"Llt.y Cley-k

                                          FIRST APPEARANCE         ORD~R


       Defendant was befol-e t.he COLwt on this dat.e fOI- Fir-st. Apl:;.e';;,l"ancE' and \o"J';;;.S
fLllly advised as l~eaLtii-ed by Flol-ida Rules of C}-iminal F'l-oced~ll-e 3. i3i!Hb).
Having considel-ed .;;.11 available l-e1evant infol-m21t.ion necessal-Y t.o detel-mine
t.he cond i t. ions of Defendan t,· s l-e 1 ease ~ et.nd find ing prob,;.-.b 1 e calise e;·:cept. as
indicat.ed belo~l/, it. is


ORDERED and ADJUDGED that.:
(     The Stat.e At.t.cll-ney shall Dl~ovide a.ddit.ion';;.l evidence t.o the Cow-t wit.hin
      72 hOLli-S t':. establish ol-obable cause as t.o t.he folloll'ling Ch2c.I-gE2'S.
      The Defendant. be held wit.hout. bail.
      The Defendant be released on    ",
                                         st.andard conditions (F.S. 903.047) and
      following condit.ions:


CASE NUMBER                      CHARGE                                          CIRCLE ONE           AMOUNT

29,:)!:j(~12753CFA   1:11Z11 l'1URDER                                         ~ ~ $SD~                 t::JDt.J ~
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         To t.he supel-vision of COLll-t. Alt.el-na.tives~ Pl-et,-ial Sel-vices F'}-ogl-';;.m, and
         maint.ain cont.act. as inst.ructed.
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         inst.nJct.ed.
         Have no cont.act with victim.
         :'iaintain aIt.el-nett.e l-esidence.
         Other Soecial Condit.ions:
                                            ---------------------------------------------------------

         The COLll-t Ol-eliminal-Uy finds t.he Defend2cnt is eligible fOI- arH::! i':l.pooints
         t.he Office of the Public Defendel-, oending t.he filing (;If a financiet.l
         affidavit. and payment of t.he $40.00 aoplication wit.hin           (7) days of
         this order oursuant. t.o F.S. 27.52.
         Th!:? CL1LWt, finds t.he Defendant does NOT QI.J.alify for­
         The CC'ln-t. aopoint.s the Office of t.he

         The Defendant represents he/she will                consult.

              DONE AND ORDERED at. Gainesville.
                          on August. 11~ 2000.



                                                                                 AVMER L CURTIN


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Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 53 of 121
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      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 54 of 121                     JI




               IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                       IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                              CASE NO.: OO·2753·CFA
     Plaintiff,                                                          00-2660-CFA
VS.


BRIAN HERLIHY,
     Defendant.
__________________________________
                                 ~I




                             NOTICE OF APPEARANCE OF COUNSEL

        COMES NOW the Law Offices of Groland, Quirk & Salter, P .A., who by this pleading

enter this cause as attorney for said Defendant, BRIAN HERLIHY.
                                         '.


                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by US

MAIUHAND DELIVERY to the State Attorney's Office, Post Office Box 1437, Gainesville,

FL 32602 on this:.-';:}lVaay of August. 2000.


                                                   LAW OFFICES OF GRO~K & SALTER, PA



                                              FOR., Gor
                                                  FI I a B ~1       59
                                                   ost Office Box 2848
                                                  Gainesville, FL 32602
                                                  Phone: (352) 373-4669
                                                  Fax: (352) 373-2885




                                                                          .0000006
                            o
     Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 55 of 121



              IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                      IN AND FOR ALACHUA COUNTY, FLORIDA


STATE OF FLORIDA,
     Plaintiff,                                  CASE NO:      00-2753-CFA
                                                               00-2660-CFA
vs

BRIAN HERLIHY,
     Defendant.
______________________                  ~1




                      STIPULATION FOR SUBSTITUTION OF COUNSEL


          COMES NOW. the Office of the Public Defender. and The Offices of Groland! Qui rk

& Salter, P.A. and the parties agree that the Defendant, BRIAN HERLIHY, has retained

private counsel in this cause, specifically The Law Offices of Groland Quirk & Salter. P.A
                                                                     I




and the parties agree that new counsel should be allowed to enter this cause as Attorney

of Record for the Defendant.


                                        ? tl.tk-­
                            DATED this .kI. day of August. 2000.

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                                                                           Fo~
"Sal~atore MFll' ~~lic Defender                         Go don H. Groland, Esquire
Fla, Bar No:.   lti Qq,)Q                               Fla. Bar No: 137259
PO Box 2820                                             PO Box 2848
Gainesville, FL 32602                                   Gainesville, FL 32602
3521338-7370 - Phone                                    3521373-4669 - Phone
352/336-2400· Fax                                       3521373-2885 - Fax



                            Il?~l~
                              BJ:!an Herlihy. Defdant




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   Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 56 of 121
                       b                                0
                         CASE NO.:     2000-27S3-CF-A
     *******************************************************
                             IN THE CIRCUIT COURT
                           EIGHTH JUDICIAL CIRCUIT
                               STATE OF FLORIDA

                County of Alachua, Spring Term A.D. 2000
     *******************************************************
                             STATE OF FLORIDA
                                   vs.
                          BRIAN PATRICK HERLIHY
               WHITE/MALE DOB: 10-11-70 SSN: XXX-XX-XXXX
     *******************************************************
                               INDICTMENT FOR
                             FIRST DEGREE MURDER
     *******************************************************




             Filed                              of Grand Jury,
                                                A.D. 2000


 ***************************** *************************
                                 ROD SMITH,
                               State Attorney
****************************************************************

                       CERTIFICATE OF STATE   ATTO~Y


I, Jeanne M. Singer, Assistant State Attorney of the Eighth
Judicial Circuit of Florida, including Alachua County, do hereby
certify that as such Assistant State Attorney, and as authorized
and required by law, I have advised the grand jury in regard to
returning the within indictment.
This (;2,~    day of August, 2000



                                        . SINGER
                      Assistant Stat      torney for the
                     Eighth Judicial    lrcuit of Florida




                                                        0000008
                    o                               o
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 57 of 121




      IN THE NAME AND BY THE AUTHORITY OF THE STATE OF FLORIDA

                           ******************


 In the Circuit Court of the Eighth Judicial Circuit of the State
 of Florida, for Alachua County, at the Spring Term thereof, 2000.

 THE GRAND JURORS OF THE STATE OF FLORIDA, enquiring in and for
 the body of the County of Alachua, upon their oaths present that
 BRIAN PATRICK HERLIHY of the County of Alachua aforesaid, in the
 County and State aforesaid, on or about the 2nd day of August,
 2000, did with a premeditated design to effect the death of
db      ,     Dla, a human being, unlawfully kill the said it. . . .~
 ;& II    , an infant, by violently shaking the infant with his
 hands, from which                  did die on August 10, 2000,
 contrary to Florida Statutes, Section 782.04 (1) (a) .

                                       ~/Ill       ~/l/-           ;;>

                                    JE~'SIN~
                                    Assistant State Attorney
                                    for the Eighth Judicial Circuit
                                    of the State of Florida . .
                                    Prosecuting in the name and by
                                    the Authority of the State.




                                                                            \
                                                                 0000009        \
                                                                                /
      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 58 of 121
                                                                                                          V\v

                 IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                       IN AND FOR ALACHUA COUNTY, FLORIDA


 STATE OF FLORIDA,
      Plaintiff,                                    CASE NO:        00-2753-CFA
                                                                    00-2660-CFA
 vs

 BRIAN HERLIHY,
      Defendant.
 ______________________              ~I




                      ORDER ALLOWING SUBSTITUTION OF COUNSEL

        THIS CAUSE having come on to be heard before me upon the Stipulation for

~ubstitution   of Counsel filed in this,cause and this Court finds that it is the desire of the
                  ,   ~




 Defendant, BRIAN HERLIHY, to hire private counsel in this cause, it is therefore
                          "   ,


 considered:                                f


        ORDERED AND ADJUDGED that:

        Salvatore Mollica, Esq., Public Defender, is relieved of responsibility in this case and
                                                                                                   c
 The Law Offices of Groland, Quirk & Salter, P.A. shall be substituted as Attorney of Record       0
                                                                                                   ::b­
                                                                                                   e:
 for the Defendant.                                                                                en
                                                                                                   N
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               DONE AND ORDERED this ~ay                ofv-+~:........!!':~~ttaJf"~'"
                                                                                                   W)
                                                 ~~--~=------------------- Q
                                                         rable Chester B. Chance
                                                   Circuit Court Judge

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
 furnished by US Mail to: Salvatore Mollica, Assistant Public Defender. P.O. Box 2820,
 Gainesville, FL 32602, Groland, Quirk & Salter, P.A., PO Box 2848, Gaines~iI~.. 32602
 and to the State Attorney's Office. PO Box 1437. Gainesville, FL 32602 t~day of
 August, 2000.                                   ~'

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       Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 59 of 121
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                                                  IN THE CIRCUIT COURT OF THE
                                                  EIGHTH JUDICIAL CIRCUIT. IN
                                                  AND FOR ALACHUA COUNTY, FLORIDA.
STATE OF FLORIDA,

         Plaintiff.                               CASE NO. 2000·2753-CFAJ2000·2660·CFA
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BRIAN HERLIHY.                                                                                        w      ...... c..::
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         Defendant.                                                                                   :l":   z:8~"
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                                                                                                      c.n                   :v
                                                                                                      -..I                  .....
                                       MOtION to WITHDRAW
         COMES NOW Salvatore D. Molllca,
                                      '.
                                         Assistant Publlc Defender for the Eighth Judicial CIrcuit,
In and for Alachua County, Florida and respectfuny:~equests
                                                  ..        this Honorable Court for Its Order
relleving the Office of the Publlc Defender of the, Eighth Judicial Circuit from further responslblUty
In the above-captioned cause.
         AS GROUNDS for this Motion, your Petitioner states that the Defendant has retained Gordon
GrolancL a member In good standing of the Florida Bar, as private counsel In the above-styled
cause.
         WHEREFORE, your Petitioner requests that hIs Motion to Withdraw be granted and that he
be relleved from further responslbillty In the above-styled cause.
         I HEREBY CERTIFY a true and correct COp! ,~~ the foregoing has been fuml~~e~ Jeanne
Singer, Assistant State Attorney, 120 W. University A\!~~ue, Gainesville, Florida thls~ day of
                                                   • . !, : !


August, 2000 by hand dellvery.                    : f .~••~ '.




                                                  SAL lTORE D. MOLLICA, 11201359
                                                  AsSistant Publlc Defender
                                                  P.O. Box 2820
                                                  GainesvtUe,FL 32602
                                                  (352) 338-7370




                                                                                 00000 I I
                          o
       Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 60 of 121
                                                                 o
             IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                     IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                          CASE NO: 00-2753-CFA
     Plaintiff,                                                     00-2660-CFA

vs.

BRIAN HERLIHY,
     Defendant.
_ _ _ _ _ _ _-...:1

                       WRITrEN PLEA OF NOT GUILTY.
              DEMAND FOR DISCOVERY AND DEMAND FOR JURY TRIAL

         COMES NOW the Defendant, BRIAN HERLIHY. by and through his undersigned

attorney, and files this written plea of not guilty to all charges brought against said

Defendant in the above referenced cause.

         Defendant demands that the State of Florida provide to said attorney all information

required by Rule 3.220, Rer.P.

         Defendant also demands a triaf by jury on all charges brought against Defendant

in the above referenced cause.

         I HEREBY CERTIFY that a copy of the foregoing has been furnished by US

Mail/Hand Delivery to the State Attorney's Office, PO Box 1437, Gainesville, FL 32602 on

this   30 day of August, 2000.



                                           Gordon H. Groland, Esqui e                          -.       Q
                                           Florida Bar #137259
                                                                              )~.~:                     ~
                                                                                                               , --   "1.,;"~
                                           Post Office Box 2848                                                .: ;. f
                                           Gainesville, FL 32602              ••    j   • ~-


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                                                                                               _..-,


                                                                                                        .r.­
                                           Phone: (352) 373-4669              ~
                                                                                        -~'(   -    ,

                                                                              .-­
                                           Fax: (352) 373-2885                                 --




                                                                          0000012
:IGHTH    JUDICiAL CIRCUIT
                 Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 61 of 121
;TATE OF FLORIDA

     -'-/:;­


fERLIHY~        BRIAN PATRICK

                 Defendant.

                                                  FIRST APPEARANCE ORDER

       Defendant. \'olCl.S befc'l"e t.he COLU-t. on this dat.e fOl- FiJ·st. Apoe.:wa.nee ana \\lCI.S
'UllY  advised as l-eouil-ed by Flcl}-ida RLlles of Cl-imin.?l F'j-ocedl.lre 3.13li)(b).
t~ving considel-ed all aVCI.ilCl.ble I-eleva.nt. info.-ma.t.ion necessary t.o detel'mine
;he condit.ions of Defendant's release, and finding probable cause except as
LnciiCClted below~ i t is


JRDERED and ADJUDGED that.:
(~.-he     St... t.e At.t.ol-ney shad I pl-ovide addi t.ional evidence t.o. t.he COLu-t ~'oli thir,
      72 hours to est.ablish probable cause as t.o t.he following charges.
(  )  The Defendant be held without bail.
(  )  The Defendant be released on standard conditions (F.S. 903.047) and the
      following conditions:


::ASE NUt'iBER                    CHARGE                                                       CIRCLE ONE                                       AMOUNT

200002753CFA 001 MURDER FIRST DEGREE                                                        --~$ NO ;abNU
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        maint.ain cont.act. as inst.ructed.
        Sel"een fOI' substance CI.Dllse and p ....l·t.icipate in tl·e .... tment. .... 5 indic .... t.ed.
        To Court Alt.el-natives~ j'1a:·:imllm Sl'.pel-vision PI-ogJ-am, pal-ticioate as
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        Have no con~act with victim.
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        I] t.h el" Spec i e.l Cond i t. ions: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



APPOINTMENT OF COUNSEL:
   )  The COUI"t. pn"liminal'ily finds t.he Defendant is eligible fOl" and c3.DDoint.s
      t.he Office of t.he Public Defendel-~ pending t.he filing of a financiC'l.l
      affidavit. and payment of the $40.00 apolicat.ion wit.hin seven (7) days of
      this order pursuant t.o F.S. 27.52.
      The COUi"t. finds t.he Defendc3nt does NOT OUCll ify fOl' the Publ ic Defendel'.
(  )  The Court aoooints the Office of the Public Defender for First Accearance
. ,/-6nl                                                                                                                                         -1
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        The Defendant. r·eo,"esent.s he/she                  ~",i 11      consul t. or'   iV-~.te      cOlmsel. ~/P~
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               DONE   AI'~D   ORDERED at G.::Iinesville,           AlachL\a Count-v. Florida.,                                    ..5~-
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                                                                                                                  JEANNE DAWES CRENSH 4 W



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       Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 62 of 121



                                                    IN THE CIRCmT COURT OF THE
                                                    EIGHTH JUDICIAL CIRCUIT, IN
                                                    AND FOR ALACHUA COUNTY, FLORIDA.
STATE OF FLORIDA,

         Plaintiff,                                 CASE NO. 2000-2753·CFAl2000·26So-CFA

-vs-                                                DIVISION: II

BRIAN HERLIHY

         Defendant



                               ORDER GRANTING MOTION TO WITHDRAW
                                                              'j




         THE COURT haVIng considered the written Modon by counsel for the Defendant to withdraw,

and the Court being fully advised in the premises, It ls hereby

         ORDERED AND ADJUDGED that
                                                                                                   0                        r':
                                                                                                   0
         L Gordon Groland. a member in good standing of the Florida Bar. has been retained as      :::-   ~,... Q'.J •• '   "


                                                                                                   c:                •. '.
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private counsel by the Defendant In the above-styled cause.
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         2. The Public Defender's Office for the Elghth Judicial Circuit Is relieved of further           ~~~.
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responslblllty In the above-styled cause.                                                          OD


         DONE AND ORDERED In Chambers. GalnesvoIe. Alachua County. Florida this a;day of

August, 2000.




                                                    CHESTER B. CHANCE
                                                    Circuit Judge
                                                     \   "',
Caples to:
Salvatore D. Mollica· Assistant Public Defender
                                                    .. ~: •. ~!    j'

Jeanne Singer - Assistant State Attorney
Gordon Groland -Private Counsel

                                                          ,
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                                                              "

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     Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 63 of 121


            IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                    IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                       CASE NO:      OO·2753·CFA
       Plaintiff,                                                     00-2660-CFA             r.::.
                                                                                              "~- ~   ...

vs

BRIAN HERLIHY,
     Defendant.
________________________             ~I




                                MOTION TO SET BOND

       COMES NOW, the Defendant, BRIAN HERLIHY, by and through his undersigned

attorneys, and pursuant to Rule 3.131(a), Florida Rules of Criminal Procedure, files this

Motion to Set Bond in this cause, and the Defendant says as follows:

       1. On August4, 2000. the Defendant. BRIAN HERLIHY, was arrested and charged

with aggravated child abuse. The Defendant remained in jail and thereafter on August 10,

2000, the Defendant, BRIAN HERLIHY, was charged with the offense of murder. On

August 29, 2000. the Alachua County Grand Jury indicted the named Defendant for first

degree murder and bond was set at no bond.

       2. The State of Florida is alleging factually that on the date of August 2, 2000,

the Defendant, BRIAN HERLIHY, while watching his girlfriend's 4 month old infant child.

shook the child in such a way so as to cause serious brain trauma, which trauma, says the

State, contributed to or caused the infant/victim's later demise.

       3. According to the police reports that have been furnished to undersigned counsel,

the lead detective in this case, Helen Legall, from the Gainesville Police Department, took

statements from the Defendant, BRIAN HERLIHY, and in the Detective's synopsis of the




                                                                    0000015
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 64 of 121


Motion to Set Bond
State vs. Brian Herlihy
Page 2

Defendant, BRIAN HERLIHY, explained that he found the baby wedged in between the

bed and the headboard, and as he was calling 911, and attempting to administer CPR to

the child, he shook the child while trying to revive the child from an unconscious state.

       4. The police reports further indicate that the Defendant, BRIAN HERLIHY, had

been dating the victim's mother for several months. The victim's mother, Crystal _ .

21 years of age. had expressed to the Defendant that she was in an unhappy marriage,

had just had a baby, and that she wanted a divorce because she felt threatened by her

husband, John    Ad •.      In fact, there were instances of police intervention involving

Crystal'.ln• • and her husband, John~prior to the incident in question on August

2, 2000, when the injured infant was taken to Shands Hospital.

       5. Undersigned counsel, on behalf of the Defendant. BRIAN HERLIHY, will cause

a Subpoena Duces Tecum to be issued in this cause for the lead detective, Helen Legall,

of the Gainesville Police Department, directing that Detective Helen Legall appear at the

bond hearing to be set in this cause at which time she will be examined by u~dersigned

counsel relative to her investigation in this case.

       6. During the examination of the Detective, this Honorable Court will hear, among

other things, that:

              a. the infant's grandmother has made statements to the effect that she had

previous to August 2,2000 seen signs of child abuse with regard to the infant/victim;

              b. the grandfather of the victim/infant had also reported that physicians at

Shands Hospital told him that they found signs of an earlier brain injury to the child.




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                          o                                       o
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 65 of 121


Motion to Set Bond
State VS. Brian Herlihy
Page 3

              c. the child's pediatrician, John Hellrung, M.D., has reported that prior to the

incident in question he observed that this child had "underdeveloped neck muscles" and

that was "of concern" to him.

              d. on the day in question, the victim's mother, Crystal...-.. after visiting

with her husband, John - . , at work, and telling him that she was going to drive to

Cedar Key by herself with the baby. instead drove directly to her boyfriend, Brian Herlihy's

residence, dropped the baby off, and left in the Defendant's truck to "get gas in the truck"


                    ,..
                      ~   .
for her drive to Cedar Key.

       7. The Defendant's position is that after hearing testimony from the lead detective
       !      ",'
in this case, this Honorable Court will determine that "the proof is not evident nor is the

presumption great" that the named Defendant committed the offense of first degree

murder, and that the Defendant, BRIAN HERLIHY, is entitled to have a reasonable

monetary bond set in this cause.

       8. The Defendant will, if he posts bond in this cause, reside with his mother and.

father in South Florida at 19401 NW 10th Street, Pembroke Pines, FL 33029-3214. The

Defendant's mother, Lois Herlihy, is a registered nurse and the Defendant's father, John

Herlihy, is the coordinator of Clinical Quality Management at Jackson Memorial Hospital

in Miami, Florida. They assure this Honorable Court that the Defendant will attend all

necessary court settings in this cause, and they will personally see to it that the Defendant

appears in Gainesville for each required court appearance.

      9.. The Defendant has no Significant criminal record, has never to undersigned




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   Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 66 of 121


Motion to Set Bond
State VS. Brian Herlihy
Page 4

counsel's knowledge failed to appear for any court hearing, and has never in the past been

accused of either intentionally or negligently hurting any individual or child.

         WHEREFORE, the Defendant, BRIAN HERLIHY, respectfully moves this Honorable

Court to set this matter for a two~hour hearing and at hearing set a reasonable bond in this

cause.

                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been

delivered via Hand Delivery to Jeanne Singer, Esquire, State Attorney's Office, P.O. Box

1437, Gainesville, Florida 32602, on this   "'2--9, day of September, 2000.
                                            LAW OFFICES OF GROLAND,     Q~        & SALTER, P.A.




                                            Gordon H. Groland, Esq
                                            Florida Bar #137259
                                            Post Office Box 2848
                                            Gainesville, FL 32602
                                            Phone: (352) 3734669
                                            Fax: (352) 373~2885




                                                                     0000018
     Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 67 of 121
                                                                o
            IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                    IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                       CASE NO:     00-2753-CFA
       Plaintiff,                                                    00-2660-CFA

vs

BRIAN HERLIHY,                                                                                    (!'f ~~ .'
    Defendant.
______________________             ~I
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                               STIPULATION FOR BOND                                         _     ;<r~
                                                                                            ;;,    fD ~
       It is hereby agreed and stipulated to by and between the parties below that in case ­

numbers 00-2753-CFA and 00-2660-CFA a reasonable bond in these cases shall bea

$50.000.00 cash bond with the following conditions:

       a. The Defendant, BRIAN HERLIHY. shall have no contact with the victim's family

or extended family.

       b. The Defendant, BRIAN HERLIHY, shall have no contact with any children under

the age of 16 years.

       c. The Defendant BRIAN HERLIHY, must reside in Broward County, Florida with

his parents, Mr. and Mrs. John Herlihy. at 19401 NW 10th Street, Pembroke Pines, FL

33029-3214. until further order of this Court, and shall not leave Broward County without

permisSion from this Court except to travel to Gainesville, Florida to meet with his

attorneys or to make Court appearances in connection with these cases.

       d. The Defendant. BRIAN HERLIHY, if he has a passport. shall surrender it to the

State Attorney's Office or another designated agency.

       e. The Defendant. BRIAN HERLIHY, shall not become employed in the medical or

healthcare sector during the pendency of this case.




                                                                    0000019
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 68 of 121



Stipulation for Bond
State vs. Brian Herlihy
Page Two

       f. The Defendant, BRIAN HERLIHY, shall within ten days of posting a bond shall

be referred by his family doctor in Broward County, Florida to a psychiatrist for an

evaluation to determine whether or not the Defendant should be on any medication for

depression or other medical problem.

       DATED this 12th day of October, 2000.




Jeanne Sing        squire                           Gordon H. Groland, E~quire
Assistant State Attorney .d                         Florida Bar #137259
Florida Bar # 02· tf3C,
P.O. Box 1437
                       OJ                           Post Office Box 2848
                                                    Gainesville, Fl 32602
Gainesville, FL 32602                               Phone: (352) 373-4669
                                                    Fax: (352) 373-2885




                                                                   0000020
     Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 69 of 121



              IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                      IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                        CASE NO:    00-27S3-CFA
     Plaintiff,                                                      00-2660-CFA              0
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vs                                                                                            ..... 0::" ~:,
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BRIAN HERLIHY,                                                                               -c       0-<·<.
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        Defendant.
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                                      ORDER SETTING BOND                                                     -=­

        THIS CAUSE having come on to be heard before me upon the Stipulation of the

parties hereto and this Court having accepting said Stipulation sets bond in this cause at

$50,000.00 cash with the following special conditions:

        a. The Defendant, BRIAN HERLIHY. shall have no contact with the victim's family

or extended family.

        b. The Defendant, BRIAN HERLIHY, shall have no contact with any children under

the age of 16 years.

        c. The Defendant BRIAN HERLIHY. must reside in Broward County, Florida with

his parents. Mr. and Mrs. John Herlihy, at 19401 NW 10th Street, Pembroke Pines. FL

33029-3214. until further order of this Court, and shall not leave Broward County without

permission from this Court except to travel to Gainesville, Florida to meet with his

attorneys or to make Court appearances in connection with these cases.

        d. The Defendant, BRIAN HERLIHY, if he has a passport, shall surrender it to the

State Attorney's Office or another designated agency.

        e. The Defendant. BRIAN HERLIHY, shall not become employed in the medical or

healthcare sector during the pendency of this case.




                                                                       0000021
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 70 of 121



Order Setting Bond
State VS. Brian Herlihy
Page Two

      f. The Defendant, BRIAN HERLIHY, shall within ten days of posting a bond shall

be referred by his family doctor in Broward County, Florida to a psychiatrist for an

evaluation to determine whether or not the Defendant sh,?uld be on any medication for

depression or other medical problem.

      DONE AND ORDERED in Chambers o yday of October, 2000.




                                                      a Ie Chester B. Chance
                                               P"I C1IanT

                                               Circuit Court Judge


furnished b
                JII"""'IHf~.'T'.I~V'aciZ:~ounty
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                                       ~ a true and correct copy of the foregoing has been
                                      Sheriff's Office, Department of the Jail 3333 NE
   th
39 Avenue, Gain sville, Florida 32609, Groland, Quirk & Salter, P.A., PO Box 2848,
Gainesville, FL 32602 and,Je. Jeanne Singer, State Attorney's Office, PO Box 1437,
Gainesville, FL 32602 this ~ay of October, 2000.




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        Case 1:09-cv-00052-MP-GRJ   •• ~ .... -- --- Filed
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STATE OF FLORIDA. COUNTY OF                    ~c..h\AC~                          .                              ~
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defendant shall appear before the                CIRCUIT OR COUNTY                    Court. in and for        A\ac1u.L.' . -.
Countv.      C,o.,:, N'C.>~ .\\ t                       .   Florida al   ~            M. on the                  da.,. of   'i"tNb ~z:    I; .:i
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                                                                  Bond $

and shall appear in said court from day to day and term to term and shall
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returned to tilt undersigned depositor. else to be forfeited or estreat r                   of     II   above cour              ,'-'. '...                      \...1

The above sum received and this bond taken and approved
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Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 72 of 121




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         Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 73 of 121


I
I
                IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                        IN AND FOR ALACHUA COUNTY, FLORIDA

    STATE OF FLORIDA,                                       CASE NO:      00-2753-CFA
           Plaintiff,                                                     00-2660-CFA
    vs

    BRIAN HERLIHY,                                                                             (:)
                                                                                               o
                                                                                                        ~, .. }
         Defendant.
    ________________________             ~I                                                    e
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                                                                                               1.0            ":"'Cl.~
                                                                                                          :( 5'1:-';
                M01"ION TO CONTINUE CASE MANAGEMENT CONFERENCE                                          Cc->Q-:':
                       AND MOTION TO EXCUSE THE DEFENDANT                                      :i       ~oS
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                                                                                               .r:"'
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           COMES NOW, the Defendant, BRIAN HERLIHY, by and through his undersigne~                                  ~

    attorneys, and files this Motion .requesting Court approval for the excusal of the

    Defendant's in-person appearance at Case Management Conference set for November

    20, 2000 and the Defendant says as follows:

           1.     The Defendant has posted bond and with the approval of the Court and the

                  Office of the State Attorney he resides in South Florida with his parents, Mr.

                  and Mrs. John Herlihy at 19401 NW 1Olh Street, Pembroke Pines, FL 33029­

                  3214. The Defendant has full-time employment in South Florida working in

                  excess of forty hours per week.

           2.     The State has listed some 100+ witnesses in connection with this case and

                  although the discovery process has begun, undersigned counsel would

                  request a three month continuance of the Case Management Conference.

           3.     Furthermore, the Defendant, through counsel, respectfully requests that this

                  Honorable Court excuse the Defendant's presence from the court

                  appearance for Case Management Conference now set for November 20,

                  2000 at 9:00 a.m.




                                                                   0000025
   Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 74 of 121



       4.     Undersigned attorney has contacted Assistant State Attorney Jeanne Singer,

              who poses no objection to this Motion.

       5.     This Motion is made in good faith for the reasons stated herein above and

              the Defendant specifically waives his right to a speedy trial pursuant to Rule

              3.191, Florida Rules of Criminal Procedure.

       WHEREFORE, the Defendant, BRIAN HERLIHY, respectfully moves this Honorable

Court to grant this Motion.

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

delivered via Hand Delivery to Jeanne Singer, Esquire, State Attorney's Office, P.O. Box

1437, Gainesville, Florida 32602, on this    c:rh   day of November, 2000.

                                            LAW OFFICES OF GROLAND, QUIRK & SALTER, P.A.




                                                         ,      ~            ~
                                     M.o... Gordon     . .r ,
                                                            H01Ci, E .-          .
                                            Florid   ar #137259 . /
                                            Post Office Box 2848
                                            Gainesville, FL 326Q2
                                            Phone: (352) 373-4669
                                            Fax: (352) 373-2885




                                                                     00C0026
       Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 75 of 121




                 IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                         IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA.                                          CASE NO:      00·2753·CFA
         Plaintiff,                                                      00·2880·CFA

vs

BRIAN HERLIHY,
     Defendant.
________________________               ~I




ORDER GRANTING DEFENDANT'S MOTION FOR CONTINUANCE AND EXCUSING
DEFENDANT FROM CASE MANAGEMENT CONFERENCE ON NOVEMBER 20, 2000

         THIS CAUSE having come on to be heard before me upon to be heard before me

on the Defendant's Motion for Continuance of the Case Management Conference court

date set on November 20, 2000 and to have the Defendant excused from the court

appearance on that date and after hearing argument of counsel and otherwise being fully

advised in the premises. it is considered

         ORDERED AND ADJUDGED that the Defendant's Motion be and the same is

hereby granted and the Case Management court date is continued from November 20,

2000 to      a~&/?1..< I~                   .2000 at   J/tJ() am~nrand the Defendant is
excused from having to appear in Court on November 20,2000.
                                                            "..-

         DONE AND ORDERED in Chambers on this            16 day of November 2000.
                                             _--nJ:JRO     a Ie    ester B. Chance
                                                   Circuit Court Judge
                                                                                          I':)
                                                                                          o
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been E5                ~c.
furnished by US Mail to: Groland, Quirk & Salter, P.A., PO Box 2848, Gainesville, FL::           ~.'..
326/~d to Jeanne Singer, State Attorney's Office, PO Box 1437, Gainesville, FL 32602 c:.n        S~I.~_:.·.
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  Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 76 of 121



                                   IN THE CIRCUIT COURT OF
                                   THE EIGHTH JUDICIAL CIRCUIT
                                   IN AND FOR ALACHUA COUNTY
STATE OF FLORIDA,
           Plaintiff,
                                   CASE NO:    00-2753-CFA
vs.                                            00-2660-CFA
BRIAN HERLIHY,
           Defendant.
______________________ 1


                        MOTION TO REVOKE BOND

                            ".
      COMES NOW the State of Florida, by and through the
undersigned Assistant State Attorney, and moves this Honorable
Court to revoke the previously ordered bond set in the above-
numbered case and in support thereof states:
      1.   The defendant stands indicted for the first degree
murder of an infant.    He was released on a $50,000 cash bond.
      2.   This weekend, the defendant was arrested in Broward
County for stalking and disorderly conduct.       According to the
complaint affidavit (attached), the defendant repeatedly
harrassed the victim by telephone, drove through the parking lots
of both the victim's places of employment, and appeared at her
place of employment where he confronted her and placed her in
fear after having battered her the day before.        The defendant is
alleged to have given a sworn taped statement in which he
admitted the phone calls and "drive bys".
      3.   Moreover, while in the Broward County Jail, the
defendant is alleged to have again telephoned the victim and told



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her he "hoped you're not planning on going through with this" and
that he'd "pay $5,000 and be back out."       The victim felt
intimidated and remains in fear for her personal safety.          The
defendant was charged anew with additional counts of tampering
with a witness and stalking.      (See attached complaint affidavit).
     4.   The defendant has proved himself p danger to the
community.   He has been charged and arrested for committing acts
of violence and intimidation while on bond in this case and from
jail after having been rearrested.      He has violated the most
basic conditions of release.
                            "



     WHEREFORE, the State prays its Motion to revoke bond will be
granted and his bond estreated.


     I HEREBY CERTIFY that a true copy of the foregoing was
delivered by interoffice mail and facsimile this 14th 'day of May,
2001, to Gordon H. Groland, Esquire, P.O. Box 2848, Gainesville,
Florida 32602.




                                    Ge
                                    As    t nt State Attorney
                                    FL. Ba '# BAR NO.199001
                                    120 West University Avenue
                                    Gainesville, Florida
                                    (352) 384-3161




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      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 84 of 121



                                                  IN THE CIRCUIT COURT OF
                                                  THE EIGHTH JUDICIAL CIRCUIT
                                                  IN AND FOR ALACHUA COUNTY
STATE OF FLORIDA,
             Plaintiff,
                                                  CASE NO:        00~2753~CFA
vs.                                                               OO~ 2660~CF A



BRIAN HERLIHY,
             Defendant.                                                                            ..
                                                                                                   CIt
                                                                                                   Q

--------------------------------------------------------------                                     Q




       ORDER REVOKING BOND AND DIRECTING CLERK TO ISSUE CAPIAS
        This cause having come before.the Court on the Stare's Motion to Revoke Bond and the
Court being fully advised in rhe premises, it being determined rhat the defendant has been
arrested and thar rhere is cause to believe he has engaged in criminal conduct and constitutes a
danger to the community, it is hereby
        ORDERED AND ADJUDGED
        1)       that the previously granted bond is cancelled and the defendant's bond is
                 REVOKED and ESTREATED; and
        2)       the Clerk is directed to issue a Capias in the amount of
                                 ell
                 $ ~0 I 000      -:1J Subject to adjustment or ~ubject to adjustment.
        DONE AND ORDERED in Alachua County, Florida, this 14th day of May, 2001.


                                                                                         4.._
                                                  MARTHA ANN LOTI
                                                  Circuit Judge


         ACSO ~ Department of the Jail
         Gordon H. Groland, Esq.
         Geoffrey C. Fleck, Esq. ASA




                                                                                  ODCGJ36
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            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 85 of 121
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                                           BONO INFORMATION

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                                                         A   check   payable    to   the
CASE NUMBER:     ~ - ~7.s3 -CF' A                        Depositor of Record will· be
                                                         mailed within seven business
DEFENDANT:      ~,QJ"'\    tfu./,ofnj         '.         days (less any required fees or
                                       J                 fines). YELLOW COpy TO FISCAL.
    ORDERED BY THE COURT TO:

   _~y $                        to the Oerk of Court.
   _      Release Bond to Depositor,

CHARGE:    ~. ~tld A-buse..


BON D NUMBER: ~~~\_q:...ld:)-.;;..:j~_ _ _ __

                                                                     Deputy C1CTk




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 '7ATE: OF FLORiVA

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                  Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 86 of 121




 IE;=~L.I:-;Y.   BRIAN F'ATFUCK

                  Defend.::mt.

                                        FIRST APPEARANCE ORDER

        Defendant was before the Court on this date for First Apoearance and w~s
'LIJ.!y advisee! as l"equil"ee! by Flol-ida RI_!les of CI"i.minClI Pl"ocedLn-e 3.131!/(b).
~aving consi~ered all available relevant information necessary to determine
::.he condit·ions of Defendant.'s r-elease, and finding pl-obable ca.u::se e:·:c:ept .as
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JRDERED and ADJUDGED that:
()         State At.tor-ney shall pl'ovide addit.ional evidence t.o the COLl1-t ~vithin
          hOlll-s to establ ish pl-obable caLIse as to the follo"'ling chal-ges.
      The De~endant be held without bail.
  I·
      The Defendant be released on standard conditions (F.S. 903.047) and the
      following conditions:


CASE NUt'lBSR      CHARGE                                   C I RCL~                  Ai"iO~NT
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                  AGGRAVATED CHILD ABUSE                     ~ ~                 64c:r;t.L~
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          maintain contact as instructed.                                                         ~~
          SC1-een fOI- substance abuse and pal-ticipate in t·,-eat.ment as indicElt.ed. Jfj;,1IJt
          To COLlI"t Altel"nath'es. Ma:dmum SLI.oel"vision F'1-ogl"C'.m. pal"t.icip..-te as
          instn.lcted.
          SC1"een few Dav Reool-ting F'l"ogl-C'.m a.nd I-elease LIcon acceptance tel
          carticioate as directed.
          Have no contact with vic~im.
          Maintain alternate residence.
          ot.Mel" Soec i a 1 Cond i t ion s : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                   1 of
IF-F'O I NTMENT OF COUNSEL:      0
             Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 87 of 121
          The COLll-t. pl-elimin.:u-ilv finds
                                                                         0
                                        t.he Defendant. is engible f01" and appoint.s
    t.he Office of t.he Public Defendel-~ pending t.he filing of a finc'\ncial
    affidavit and oayment of t.he $40.00 apolication within seven (7) days of
    th i s ol-del- OW-SHan t to F. S. 27.52.
    The Co!..wt finds the Defend~.nt does NO. oLla.l i fy fen" the F'LIO 111': Defendei".
: ) The Court appoints the Office of the Public Defender for First Apcearance
  ~nly.
:0 The Defendant repl"eSents he/she will consult· ol"ivate counsel.
         DONE AND ORDERED c'\t       Gc'\inesville~
                         on June 06, 2001.




                                                                             James P. Nilan




    I • D. ='h 0 t.o not ,-eceived   ~      O.-iQinal 1.0. I"hoto in Case No.                     2Cr:::P-~bDQt
                                         P~.ge    2 of   2­


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                                                              UUvU~..IJ'j
                                                      o
STATE OF FLORIDA

VS.
                   Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 88 of 121

Name:      ~j..1 Litd.l/Jr;/"7
                                                                                     D08:~
Address:
                                                                                     SSN:~                                   CASE NUMBER:     Cly-:;2 /.s; CoOCFIf
                                                                                                                                              CO--~~ff
Phone Number:

           Delendant
                                           APPUCATION FOR APPOINTMENT OF PUBlIC DEFENDatI AFFlDAVrT OF INDIG£NCY
                                                              AND REL.£ASE OF FINANCIAL WFORMATIOH


           I understand Iftat a public defender Is not a free lawyer, and that a $40.00 application lee is to be paid to \he cieri<: of the court. as
ordered by the court and is due upon filing of this affidavit or within seven (7) days thereafter. If not paid wilhin seven (7) days the application
fee shall be assessed at sentencing or at the final disposition of \his case, as directed by the court. I understand that a judgment & lien may be
imposed against all of my real or personal property owned or after acquired, in lavor of Alachua County. Florida. lor an amount which shall
constitute the reasonable minimum value of legal services and costs rendered on my behall by the public defender. I also understand that il I
am found to be not guilty or my case is dismissed that I will not be responsible for attomey lees.

                                                                       AFFDAVIT OF NllGENCY
           I, I!eImz first dulY sworn, Slate under aaIft and p!!!!I!r of p!!f!IrY that the above and lollowing statements regarding age. marital status,
dependents. bail, financial status and release 01 inlormation is true and conrect. I hereby authorize Alachua County or the Stale 01 Florida to
make inquiry to any employer. creditor. banking or financial institution. utility co~any and credit bureau (s) regarding my linancial matters and
further authorize \he release of any information and documentation relating to         . I also agree to report any change in my linancial status to
the court or indigence examiner.
I AM PRESENTLY:                IN JAtL.:   YES I NO                                                                          ROR:   YESI NO



MARrTAL STATUS:.__     S____    NUM8ER OF DEPENDENTS:_=F--_+"I'"


EMPLOYERS ADDRESS: _ _ _ _ _ _ _-+_....",,----f-"~'\'



PUBLIC ASSISTANCE: AFOC: $ _ _ _ _-+_

8ANK NAME: _ _ _ _ _ _ _ _ _ _                ~"'---
                                                                                       ntenlsl InVtxpectancy of an Inlenlsl) $

VALUE OF PERSONAL PROPERTY: (canl, motor           ele, boat, stocks, bonds, notes. etc.) $,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


MONTHLY LtABIUTIES: (nlnl, utilities, loans, support payments, etc.) $ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           I undenltand U1at the court will only make a preliminary determination of Indlgency pending the outeome of an Investigation by Ole Indigence examiner
Into my financial background.


                                                                                     (Affiant)

           Subscribed and swom to me thls _ _ _ day of _ _ _ _ _ _ _ _ _ __

                       or has produced (




                       Judge                   Deputy Clerk

                                                                 ORDER ADJUDGING INDfGIJICY
          The above named defendant now being befOn! this court, hayIng made applicatlonlaHldaYi! to determine Indlgency. pursuant to Sec. 27.52, Florida
Statutes and said application haYing been nlyiewed. It is U1erefore:

                       ORDERED ADJUDGED AND DECREED U1et OIls court makes a preliminary determination of;
                                               (  ) INDIGENCY                   (   ) NOT INDIGENT


                       rT IS FURTHER ORDERED that Ole PUBLIC DEFENDER be                           ) APPOINTED



DONE AND ORDERED It'll....
                      '     _\.Q-=:~__       day o d J .      .J)

                                                                                                                             FILED IN OPEN COURT
Copies fumished:    Clerk         Indigence Examiner           Public Defender
                                                                                                  D1cift'res P. Nilen
                                                                   (   ..   '.
                                                                   U'_ .... L,.'
                                                                                 "

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                                                                                                                                             rD.C.·
                         ALA~.e COUNTY
           Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 89 of 121
                                       WARRANT/CAPIAS k. . . .US
                                                     Hold for :
::lBTS #:t.:rO/O/Z6t<1       Eighth Judicial Circuit
~ame: HERLIHY, BRIAN PATRICK                         Suffix:
'ddress:,J015 SW 9~K STREET #A2l
           GAINESVI~LE       FL 32601
Birth Place ~ ~;.lJI4d' pc,                Ci tizenship: 'teS- US
Drlver Llcense:  IS••illl.a.1.....
Rac,e: W ,sex: M Height: 510 Weight: 185 Hair: BRO Eyes: BRO DOB: 111221
DistingUiShing~ar~: SC~VER RT EYE
                                         SSN: 'I. 12 l?S i
                                                                                        II


Bus. Address:    ~ ~, ~.
SPN: ,1993-0009 9 SO ID/AGNCY #:93-00345
Hm. Phone: (35    71-0466        ~AI      Bus',PhQn,e; ("52) 71-3171
Next of Kin:                     'LL/~   ~ ;t:;joIr/.       ~ ..

New/Updated Information :




                                                                                    o




Juve~ts                     Address               Phone                   Notifie@

Arr. Date I Arr. Time I Arr.    LOf~tion   I Book Date I Book Time"l Book Lo,ation
~/         11i9/()        l~ (JJ::J        i%-a;~1        r U210      : Ku() jrJ.f"
                                                          Booking Number :
Capias Number : 200002660CFA                              Issue Date 05/15~2001
001   AGGRAVATED CHILD ABUSE
                                                             of- 70 1 ~
Bail Information:    S50 / 000.00           Issuance Note: DO NOT ADJUST
Reason : Violation of Pre-Trial Release     Judge: MARTHA ANN LOTT
Release Option: Bond Amount / Not Subject to Adjustment ~eam: 052/199,068
                                                          Booking Number :
Capias Number : 200002753CFA                              Issue Date 05/15/2001
001   MURDER FIRST DEGREE
                                                                   6 l ... ·/Li /l,1
Bail Information:    $50,000.00              Issuance Note: DO NOT ADJUJrr
Reason : Violation of pre-Trial Release      Judge: MARTHA ANN L T
Release Option ; Bond Amount / Not Subject to Adjustment T~am: 052,199 / 068
Prepared by: MEEKS, MEREDITH            Name : __~~~~___~~~~~~______
I swear and affirm that to the best of
my knowledge and belief the defendant   Signed ~~~~~L.L-~~==~___________
named herein is the subject wanted for
the above listed warrant(s}/Capias and have ehecuted same by arresting
this defenda~t this date.                                      ~

JAPDiUT
White: Court
             Page"; 1 ~f   -L  Alachua county Sheriff Deputy ID
                Pink: Agency Copy   Yellow: SAO  Gold: D~te~qJ~~
                                                                                "
                       Case COpy
                            1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 90 of 121
                      COURT            t:ASH J 'PEARANCE     BOND
                                                                                                                                O. .               .                 l'
              STATE OF FLORIDA, COUNTY                      O~                                               ~-                                    No.        00118713 I
              Detendant       bt\~) t\ec\ ~ bj                                                              '. Addr ess   :l Q '101 NUl      l®st~\?~~
              KNOW ALL MEN BY THESE PRESENTS THAT I.                                     . Pl..- <:\54-11'-\'2..- \~a.c                                          ~             ~~t>~
                                                                                       Depositor.Address~Q4D \ f\)                                                                      \-
              have deposited with the $herof           fJ,.....;:.-:u.loc=looi~~:::!".;:'---_-__ COunty. Florida. the sum o~~
              Dollars IS          .m&)()()-==               f)securitY for the appearance of the defendant upon the                    ~nditions   herainafter IItc:..4brth.   8~iu
              defendant shall appear before the                   CIRCUIT OR QetlNT't'                                  ~
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              County.~~~'\r\\\-Q                                        .   Florid88~N                            .onthe~Ndayof~                                     00        '~1i lb
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                                       c.                                                                             h         may result therefrom. •                                ;.
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              The ,bow: sum received and this bond talten and approved
              by me this
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                 H            day of   -:s v.t\9...                   1tPtl\-
                   ~.IR1)'\c.h                                              Sheriff

                   ~ti\\J\:L                                       County. Florida

              By              'Ex Ci.~~dQS                                    o.S.                          Section 9=\9.17. Florida Statutes, authorizes the Clerk. under the
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              Location where t8ken:...1\\Si::::lIoo
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                          Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 91 of 121




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I! CYNTHIA LURDERS                                   3958 NW 87 A \IE, SUNRISE FLORIDA 33351                                                                                                                                                    ,
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oD)('r.ed iln her c~lJei'iD'by                        Officer
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To Wit: On 6-15·01 (b'i d~te-ndmiCiUe t e vICtim; home phoiie nimii;; 3tT-) 3 A;";findl~i'i'i-r·etoide(fnlemge. hi direct' violation of Ihe .
~Ider. Tn~ dcfl!ndam stated o~ itUsme~~~~!_.~~'t~~~~~~ ~.~}·~~?t·su;;p';~ed· !O ~e'cali)~:s .·A :~~ii~( thiSf.~~~~~:~ message'~!S taken IntI)
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to )p.'ak wilh Ihe     peer. The      admined to the of!i;er ~t he called the victim. iSEE PAGE TWO)
, ~'''"iI'' Ir'e i~                                               10 the /)nt 01 my kll~. It'I(I belioll.
                                                                                                Randazzo 3457                                                                               Detectivr
                                                                                                                                                                                     OFFICER'S OMSION

sr"'T!: OF FLORIDA                            COUNTY OF BROW ARt>

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eAO~"D CCUHTY                                                                                                                                                                                                             "Ill ~'111"0 AQ""
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:sTATE OF FLOA!lDA'
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                                         1~ l,JqP.RANTS EXTRDNS
                    Case 1:09-cv-00052-MP-GRJ    Document    21-6 Filed 03/22/11 Page 92 of 121
                                                                             AFFIDAVr
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                                                                                                                                                    F.S. II OR CAPIASiWAAAANT "




8ek;,t.IM tJi' dale FHI",.,Mlly 1111MB*'                                                    1181 t. Randazzo                                              _ who betr.g ttl' (luty .... )m
\l'~DMluno 1olI,s 11'111 on     Various Dates         CIIy           June                ,~~"                      3958 NW 87 A"e, Sunrise. FL                     (a1me IcJc.ltiOn) 'I'\e
~I»W nJIMd a_I.neafl! com:nineO \he allOW             ofrenH. cNrgeC all/S Iho IBIlt' .lIowing proD"" CaUlO \1' believe Slrne .... &1 follow.:

To Wil; On 6·15·0 i the victim received another E-!vIail from the defendant in viol3tion of the lnjunction.
It shouiJ be noted that ffiis delrndiiit was alTe$ted 011 3·1 )-01 in Pembroke Pmes [or StalklJii tN' Vlctun and was relcased on bail; and lias
,onu/1ued 10 Stall( this victun.                                                       I '
Illie victim has nOI been hnng m her own bome becau.se slle IS afraid lfiat this defendiiit will fllld her.
 It should a:SO be noted diat this derendiiit IS out 00 ball for the charge of Horru':lde an AiachUJ CoUDty FlonCG.




                                                                                  Randazzo #34Si                                             Detective
                                                                                 OFFiCER'S NAAiEJ!CN                                    OFFICER'S OIV:SION




                                                                                                                                                         {SEAl. OR STAAIPJ




                          _.-
SEVENTEENTH JUDICAL CIRCUIT
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                                                                         FIRST o\PPEARANCElAR!U:ST FORM


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    Case WED 15:!5
          1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 93 of 121


                          OFFENse INCIDENT REPORT
                                                                       o
                      SunES8 Ponce Department




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            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 94 of 121


                                                             NARRATIVE CONTINUATION
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                Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 95 of 121
                                                                                    I. V"'t




                                                                    NAARA TIVE CONTINUATION
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                                                            NARRATIVE CONTINUAnON




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       Pllyft:aI filM..,":                                                                                            e:oMII'ce IrwNtOlY t.IuII&Itr:
        Title:
        INVESTIGATION REVEALED THAT THE ARRESTEE (HERLIHY) WILLFULLY, MALICIOUSLY, AND REPEATEDL'
        HARASSED THE VICTIM (LUEDERS) BY TELEPHONING HER ON HER CEL.L PHONE AT HER PLACE OF
        EMPLOYMENT (PINES AI..E HOUSE). THE CALLS WERE MADE FROM THE B.S.O. MAIN JAIL (#954-760-5950)
        AS HE HAD SEEN ARRESTED EARLIEFt BY THIS AGENCY (SEE CASE #2001·038413) FOR SIMILARLY
~       STALKING THE VICTIM AND HAD seEN WARNeD NOT TO 00 so AGAIN.

i        DURING THE TELEPHONE CALLS, THE ARRESTEE TOLD THE VICTIM "I HOPE YOU'RE NOT PLANNING ON
        GOING THROUGH WITH THIS" REFERRING TO PROSECUTING HIM AND ALSO "I ONLY HAVE TO PAY $50.00
~       AND I'LL SE BACK OUT". .AS A RESULT OF THESE CALLS, THE VICTIM FEARED THAT THE ARRESTEE
        WOULD 00 FURTHER HARM TO HERSELF OR HER FAMIL.Y.
        DUE TO THE ARRESTEE'S CONTINUEO INTIMIDATION AND REPEATED STALKING THE VICTIM IS DEEPLY
        CONCERNED FOR HER PERSONAL SAFETY. THIS WAS THE INTENT OF THE ARRESTEE IN ORDER TO
        CAUSE THE VICTIM TO Wrn-tHOLD TESTIMONY.
-       IT SHOULD BE NOTED THAT THE ARRESTEE BATIERED THE VICTIM ONE DAY PRIOR TO THIS INCIDENT
        WHILE THEY WERE RESIDING TOGETHER (SEE SUNRISE PO CASE #01-05-10573) AND IS PRESENTLY OUT
        ON BOND FOR WlI..LFUL HOMICIDElPREMEOITATED MUROER OF A CHIL.D IN ALACHUA COUNTY.
        THE VICTIM GAVE A TAPED STATEMENT (SEE PROPERTY REPORT 2001·1369) AND WILL. PROSECUTE.
         THIS OFFICER WAS ADVISED BY 8.5.0 SOOKING (SGT. PIERCE) THAT THE EARL.IEST THE ARRESTEE
        WILL FACE A JUDGE (DOMElIC VIOLENCE COURT) IS APPROXIMATELY 0100 HOURS ON TUESDAY, 05-15­
        2001. ALACHUA COUNTY SHOULD BE NOTIFIED PRIOR TO THIS APPEARANCE, AS n~E AODITIONAL
        FEL.ONY CHARGES WILL MOST LIKELY RESULT IN REVOCATION OF BOND ANDIOR ISSUANce OF A
        WAFtRANT FOR THE ARRESTEE.


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       Title:
       UPON ARRIVAL AT THE PINES ALE HOUSE RESTALIRANT, CONTACT WAS MADE WITH VICTltot. . . _.. _
       WHO STATED THAT HER BOYFRIEND-SUSPECT HERLIHY HAD BATTERED HER AT HER RESIDENCE IN
       SUNRISE ON 5112101 AND THAT HE'S BEEN ATTEMPTING TO CALL HER ON HER CELL PHONE AND AT HER
       WORK PLACES NUMEROUS TIMES, ALONG WITH DRIVING THROUGH THE PARKING LOTS OF HER WORK
~      PLACES AND AT HER FAMIL.IES HOUSE IN AN ATTEMPT TO LOCATE HEFt THE VICTIM STATED THAT JUST
       PRIOR TO THIS OFFICER'S ARRIVAL, THE SUSPECT ENTERED HER WORK PLACE. PINES ALE HOUSE, AND


I      HANDED HER THE KEYS TO HIS TRUCK. AND JUST WALKED OUT. THE VICTIM STATED THAT SHE IS IN
       FEAR OF THE SUSPECT DUE TO HIS BATIERING HER, AND HIS RECKLESS BEHAVIOR. THE VICTIM STATEP
       THAT THE SUSF'ECT IS PRESENTLY OUT ON BONO FOR MURDER OF 11. CHILO IN GAINSVIL.LE, FL
        THIS OFFICER AND OFFICER MAZONE CHECKEO THE AREA FOR THE SUSPECT AND WHILE CHECKING
       INSIDE HIS VEHICLE WHICH WAS LOCATED IN THE REAR F'ARKING LOT OF THE ALE HOUSE, THE SUSPECt
       APPEARED ON FOOT AND BEGAN YELLING ABOUT OUR Er.lTRV INTO HIS VEHICLE.
        THE SUSPECT WAS YELLING AT THIS OFFICER ALONG WITH OFFICER MAZONE IN THE MIDDLE OF THE
                                                                                                                                                                                    I
       PARKING LOT, CAUSING A DELAY IN TRAFFIC FL.OW THE SUSPECT'S YELLING AND ACTIONS ALSO       i

-
       CAUSED A CROWD TO FORM AROUND HIM AND THESE OFFICERS.
        WHEN THE SUSPECT WAS ASKED FOR IDENTIFICATION AND PROOF OF OWNERSHIF' OF THE VEHICLE.
                                                                                                                                                                                    1
       HE THREW HIS FL DRIVER'S LICENSE AT OFFICER MAlONE V'IHILE STANDING IN THE MIDDLE OF THE
       PARKING LOT.
        THE SUSPECT WAS IDENTIFIED AS BRIAN HERLIHY AND WAS PLACED UNDER ARREST FOR DOMESTIC
       VIOLENCE STALKING AND DISORDERL.Y CONDUCT.
        THE VICilM GAVE THIS OFFICER A SWORN TAPED STATEMENT AND THE SUSPECT'S Ve:HICLE WAS
       TOWED FROM THE PARKING LOT.                .
        THE SUSPECT GAVE THIS OFFICER A SWORN TAPED STATEMENT I='OST MIRANDA. STATING HE HAD
       BEEN CALUNG AND SEARCHING FOR THE VICTIM SINCE 06/12101.
       THE VICTIM WAS SEEN WITH SCRATCHES ON HER NECK, FINGER BRUISING ON HER UPPER ARMS THAT
       SRE INDICATED WAS FROM THE BATTERY THE SUSPECT HAD COMMITTED ON 05/12101. THIS OFFICER
       CONTACTED SUNRISE P.O. AND CONFIRMED THAT A POLICE REPORT WAS FILED BY THE VICTIM.

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              Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 103 of 121
       THE· SUSPECT WAS AovlsllOR TO BEING TRANSPORTED TO COU'JAIL THAT HE SHOU"D HAVE
       NO CONTACT WITH THE VICTIM, DIRECTLY OR INDIRECTLY.
       NOTE· THE SUSPECT IS CURRENn.Y OUT ON A 500,000.00 BONO FOR FIRST DEGREE MURDER OF A
       CHILD CHARGEe BY GAINSVlLI.E FJ.D.




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            Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 107 of 121
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      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 108 of 121



                                                   IN THE CIRCUIT COURT OF
                                                   THE EIGHTH JUDICIAL CIRCUIT
                                                   IN AND FOR ALACHUA COUNTY

STATE OF FLORIDA,
          Plaintiff,

Vs.                                                Case No.     2000-2753-CF-A
                                                                2000-2660-CF-A
BRIAN HERLIHY,
          Defendant.
_____________________1
                          SECOND MOTION TO REVOKE BOND
                                                                                                   .   ~   .
       COMES     NOW     the     State      of     Florida,     by   and        through      t§)

undersigned          Assistant     St'ate        Attorney,     pursuant         to     Flori~
                                                                                              co
Statutes,      and     again   moves      this     Honorable    Court      to    revoke      the

previously ordered bond             set     in    the   above-numbered          case   and    in

support thereof states:

       1.      The    defendant     stands        indicted     for   the    First      Degree

               Murder of an infant.              He was released on a $50,000 cash

               bond with a       special condition that he reside with his

               parents, and the general condition that he refrain from

               any criminal activity.

      2.       On July 2, 2001,          a capias was issued for the arrest of

               the defendant on the charge of Aggravated Stalking. The

               defendant was arrested in Broward County on this capias

               and presently remains in the Broward County Jail.                            This

               is the second time the defendant has been arrested in

               Broward County       since        he has   been out      on bail        in    the
Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 109 of 121



       above      .cause.       According            to     the     complaint         affidavit

       (attached),       the          defendant       has    continued         to    repeatedly

       harrass the victim by telephone and e-mail, after having

       been arrested for Stalking on May 13, 2001 by appearing

       at   her    place        of     employment          where       he   confronted          her,

       telephoning       her and placing                  her     in    fear    after having

      bdttered her the day before. The defendant is alleged to

      have given a sworn taped statement in which he admitted

       the phone calls and "drive-bys". The defendant has also
                                 '.

      admitted      to      telephone          contact       with       the    victim,         after

      being told to have no contact with her. On May 13, 2001,

       the defendant was charged with Stalking and Disorderly

      Conduct.      Since        his        earlier       arrest,       the    defendant         has

      been charged with battery. A copy of the sworn complaint

      and report         for     each of        these offenses                is attached         to

      this motion.

 3.   The Court has ordered the defendant to reside with his

      parents       as      a    condition           of     bond.       According         to     the

      attached affidavit,                   the defendant has not been residing

      as ordered but had been living with the victim.

 4.   Based upon         the     foregoing,           there       is probable         cause       to

      believe the defendant has committed a new crime while on

      bond.    This      is      the        second     offense         committed      within       a

      period       of    one          (1)     month.        Furthermore,            the    felony
   Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 110 of 121



          committed in Broward County and the charge in this cause

          are   both    defined     as     "dangerous        crimes"    under     Section

          907.041, Florida Statutes.

    5.    The   defendant's         continued        course     of     conduct,      which

          includes his failure to refrain from criminal activity;

          his   failure      to    reside    as   directed       pursuant       to   Court

          Order;   his failure to follow the orders of the Broward

          County Court;       his lack of ties to Alachua' County i                    the

          possible effect these new charges on the status of the

          charge   in       this    cause;     and     the     serious     nature      and

          circumstances       of    this     offense l   require        that    bond    be

          revoked and that the defendant be held at                       the Alachua

          County Jail pending the resolution of this cause.

    Filed in good faith this 20 th day of July, 2001.


                                      ~~N~   Assistant Stat Attorney
                                             Florida Bar No. 0243604
                                             120 West University Avenue
                                             Gainesville, FL 32601

                            CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of this motion
has been provided to Gordon Groland, Esquire via hand-delivery
this 20 th day of July 2001.
                        I




                                             Assistant Sta   Attorney
                                             Florida Bar No. 0243604




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                      o
      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 111 of 121
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                                       IN THE CIRCUIT COURT OF FLORIDA
                                       EIGHTH JUDICIAL CIRCUIT, IN AND
                                       FOR ALACHUA COUNTY FLORIDA

STATE OF FLORIDA
            Plaintiff,
vs.                                    Case Number: 2000-27S3-CF-A
                                                    2000-2660-CF-A
BRIAN HERLIHY
            Defendant.
                               /       SECOND MOTION TO REVOKE
-------------------------              BOND HEARING


TO:     Gordon Groland, Esquire


        Please take notice that the State of Florida, by and through
its undersigned attorney, will call up for hearing the above-
captioned cause on a Second Motion to Revoke Bond, before the
Honorable Larry Gibbs Turner (for the Honorable Martha Ann Lott)
of the Eighth Judicial Circuit, on Friday, July 20, 2001 at 1:30
P.M. located at Alachua County Courthouse in Courtroom 3-A,
Gainesville, Alachua County, Florida.
        I HEREBY CERTIFY that a true and correct copy of the
foregoing has been furnished by fascimile to Gordon Groland,
              ()i)~                                                        o
Esquire this ~~ day of July, 2001.
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cc: court file


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Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 112 of 121



                                IN THE CIRCUIT COURT OF
                         THE EIGHTH JUDICIAL CIRCUIT IN AND FOR
                               ALACHUA COUNTY, FLORlDA

STATE OF FLORIDA,
      PLAINTIFF,                                              CASE NUMBER: 6(CCfJ .. ~"bO" CF.J.
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      DEFENDANT,

                                                                                                '~
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                       ORDER REVOKING                     AND
                          DIRECTING THE ISSUANCE OF CAPIAS .
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             THIS CAUSE came on to be heard upon a Motion tof\.       - -   . - .. .'
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     • -~, filed by the State"Attorney's Office. The Court being fully advised
     in the premises, it is therefore:

             ORDERED AND ADJUDGED that the Court finds that the                      bond Sf      S;Q4-tt                   j


     granted in this cause should be REVOKED and the·Clerk of the Court is directed          o...l..~
     to issue a Capias in the above styled cause, BOND to be set at ~)/a::x:",CXJ:.j.,aQ flu r+­
     with the following special conditions:          \'_      I        ~ \~;- ~ ....,...4tZ.AA(\C {
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            r,')C                                                  11

      'l.£..;VDO~ ~rfbM[REfj in Open Court, Gainesville, Alachua Coun&, Florida
     on this iii?p day of TtlJ ~        .~I \'
                                                                                        ,       '.----'
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                                      CERTIFICATE OF SERVICE
                    I hereby Certify that a copy of the foregoing Order has been furnished to:

     Council for Defendant
     Assistant State Attorney                                       FILED IN OPEN COURT
     Probation and Parole                                               Ol-~                                         ~CI
     Alachua County Department of Corrections                            tn3r'                                       D.C.
     1.K. "Buddy" Irby
     Clerk of the Circuit Court

     By:_ _ _ _ _ _ _ _ • Deputy Clerk


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        Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 113 of 121



               IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT,
                        IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA                                               CASE NO.         0O-2753-C~~            ..
                                                                                                       '     l:':"

     Plaintiff,                                                                00-2660-CIrAo ~               c.-     ; .~
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     Defendant.                                                                             '"TJ   -1(=.,
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                                       MOTION TO CONTINUE

        COMES NOW, the Defendant, BRIAN HERLIHY, by and through his undersigned attorney

and files this motion to continue this case now set in the October trial term and the Defendant says as

follows:

        1. In excess of one hundred state witnesses were disclosed to the defense following the

defendant's demand for discovery filed pursuant to Rule 3.220, Florida Rules of Criminal Procedure.

        2. Witnesses have been deposed as often as is practicable, given the schedule of undersigned

counsel, the Assistant State Attorney assigned to this case, and the various schedules of police officers

listed as State witnesses. The StateAttorney's Office has continually accommodated our request for the

setting of depositions although some depositions have been set and thereafter were rescheduled due to

other conflicts.

        3. There are a number of expert witnesses listed by the State, including physicians, nurses, and

other hospital personnel. We have continually attempted to accommodate those professionals in

attempting to schedule depositions and have, out of necessity, sent each one a letter requesting that they

contact this office to advise as to their availability. Thus far, as of the dictating of this motion, only

three professionals have responded to the letter (see exhibit A attached). The State Attorney's Office

has provided us with dates for their availability and those dates extend from September 5,2001 through

September. 28, 2001.
                               o
        Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 114 of 121



        4. There are several out of county depositions of lay witnesses that need to be scheduled and

we are in the process of scheduling those depositions at this time.

        5. It is virtually impossible given the number of State witnesses in this case to have this case

adequately prepared to go to trial in the October trial term.

        6. The Defendant through the arguing of this motion specifically waives his right to a speedy

trial pursuant to Rule 3.191, Florida Rules of Criminal Procedure.

        7. This motion is made in good faith for the reasons indicated hereinabove.

        8. Undersigned counsel has spoken to Assistant State Anorney Jeanne Singer about this

continuance and although Ms. Singer has not given undersigned counsel a firm commitment, it is not
                                           '.

anticipated that Ms. Singer will object to this continuance given the number of witnesses involved in

this case.

        9. The defense specifically requests that this case be set for jury trial after January 1,2002.

        WHEREFORE, the Defendant, BRIAN HERLIHY, respectfully moves this Honorable Court

to grant this motion.

                                           CERTIFICA TION

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via US

MaillHand Delivery to the State Anorney's Office, P.O. Box 1437, Gainesville, Florida 32602 on this

'1P day of July, 2001.
                                       THE LAW OFFICES OF GROLAND



                                                       Gordon H. Groland, Esquire
                                                       Florida Bar No. 137259
                                                       P.O. Box 2848
                                                       Gainesville, FL 32602
                                                       Phone: 352·373·4669
                                                       Fax: 352-373-2885



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              Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 115 of 121
                                       LAW OFFICES OF
                                        GROLAND & QUIRK, P.A.
                                                                                           Q
                                          AITORNEYS & COUNSELORS AT LAW
                                      500 East University Avenue, Suite A I Post Office Box 2848
                                                     Gainesville, Florida 3260Z
                                               Phone: 352/373-4669 Fax 352/373-2885
                                                       50 Southeast I" Avenue
                                                        Ocala, Florida 34478
                                               Phone: 352/351-9115 Fax: 352/373-2885
GORDON H. GROlAND                                                                                                       CRIMINAL LAW
KEVIN D. QUIRK                                                                                                          PEltSONAL INJURY
CARRIE S. PROcrOR                                                                                                       WRONGFUL DEATH
                                                                                                                        TRIAL PRACTIce




                                                                       July 26, 200 I
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        Anne Dickison, M.D.                                                                         .,~


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                    Patient's Name: Robby Quirillo
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                    Date!Admission: August 2, 2000                                                 r-     §5        W
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        Dear Dr. Dickison:

               Please be advised that this office represents Brian Herlihy, who is charged with First Degree'
        Murder in connection with the death of                  ), age five months, on August 2, 2000. Your
        name has been furnished to us as a witness who may have information relative to the injuries to or
        treatment of said child before he died.

               We have attempted to call some of the medical witnesses, but we have been unable to get a
        response. You are invited to call Scott Thomas, an assistant in my office, to discuss with him the
        scheduling of your deposition at a convenient date and time for you. Otherwise, if we do not hear
        from you within ten days of this letter, we must necessarily have a subpoena issued for your
        attendance at a deposition at a date and time which we will determine without any input from you.

                    Please call us and let us know if we can accommodate your busy schedule. Thank you.

                                                                       Very truly yours,




                                                                      Gordon H. Groland

        GHG!sct




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             IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                     IN AND FOR ALACHUA COUNTY, FLORIDA

STATE OF FLORIDA,                                          CASE NO(s): 2000-2753-CFA
     Plaintiff,                                                        2000-2660-CFA

vs.

BRIAN HERLIHY,
     Defendant.
__________________________.1


                    MOTION TO SET ASIDE BOND ESTREATURE

        COMES NOW the Defendant, Brian Herlihy, by and thro~gh his undersigned

attorney, and files this Motion to Set Aside the Bond Estreature in this case and says as
                                    '.
follows:

        1. This Honorable Court entered an Order on May 14 2001, issuing a Capias and

revoking the Defendant's cash bond, and further ordering an estreature on said bond. In

fact that bond should not have been thereafter estreated, but in any event, the Clerk's

office returned the bond to the Defendant's mother who had in fact posted that $50,000

cash bond.
                                                                                            o
                                                                                            n
        2. Undersigned Counsel was contacted last week by Clerk Mary Grace Curtin who::
                                                                                            o
indicated that the Order directing "estreature", needs to be corrected and that order should"    ':.'   .'
                                                                                           :.
in fact indicate that the cash bond be returned to the Defendant's mother, Lois Herlihy, whf."

posted that cash bond since the Defendant was arrested on that Capias.                     -
                                                                                           <:)




        3. Thereafter the Defendant's mother again posted a $50,000.00 bond and based

upon subsequent events this Honorable Court on July 20,2001 ordered that a Capias be

issued and that the second bond be revoked and further directed that the bond be set in

the amount of $1,000,000.00. This subsequent revocation of bond on July 20,2001 did

not indicate that after the Defendant was arrested and taken into custody, the revoked

cash bond should be again retured to the Defendant's mother, Lois Herlihy_ Undersigned
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 117 of 121



Counsel, at the request of Mary Grace Curtin, is asking that this Honorable Court clarify

the July 20, 2001 order and dircect that the second bond be revoked, and that it "be

returned to the owner of that cash bond, Lois Herlihy, who resides at: 19401 NW 10th

Street, Pembroke Pines, FL 33029-3214",

       WHEREFORE, the Defendant, Brian Herlihy, respectfully moves this Honorable

Court to grant this Motion.

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been furnished by Mail/Hand

Delivery to Jeanne Singer, Esquire, State Attorney's Office. P.O. Box 1437, Gainesville,

Florida 32602, and Mary Grace Curtin, 201 East University Avenue. Gainesville, FL 32601

on this i{) day of October, 2001.




                                        LAW OFFICES OF GROLAND & QUIRK. P.A.
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                                                                          ./ I



                                        Gordon H. Groland, Esquire
                                        FL Bar # 137259
                                        Post Office Box 2848
                                        Gainesville, FL 32602
                                        Phone: (352) 373-4669
                                        Fax:    (352) 373-2885




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                                                                     ~.
     Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 118 of 121


                            "
                    IN THE CIRCUIT COURT, EIGHTH JUDICIAL CIRCUIT
                        IN AND FOR ALACHUA COUNTY, FLORIDA



STATE OF FLORIDA                                                          CASE NO. 2000-2753-CFA
                                                                          CASE NO. 2000-2660-CFA
-vs-

BRIAN PATRICK HERLIHY,

                            Defendant.     /

           ORDER GRANTING MOTION TO SET ASIDE BOND ESTREATURE

       THE COURT has considered the Motion to Set Aside Bond Forfeiture filed by Defendant's

counsel, Gordon H. Groland; and the Court being fully advised in the premises, finds that said

Motion should be granted.

       IT IS HEREBY ORDERED AND ADJUDGED as follows:

1.     BOND INSTRUMENT # J 19603 - The May 14,2001 estreature of the $50,000.00 cash bond

       posted on bond instrument # 119603 is hereby set aside. The instant Motion to Set Aside Bond

       Forfeiture as supplemented by the official court records verifies that the subject $50,000.00

       cash bond has already been refunded to its proper depositor by the Alachua County Clerk of

       Court. Consequently, no issues remain as to this bond.

2.     BOND INSTRUMENT # 00118713 - The July 20,2001 "Order Revoking Cash Bond and

       Directing The Issuance of Capias" is hereby clarified. Said Order revoked the second

       $50,000.00 cash bond posted in this action on bond instrument # 00118713, but did not direct

       a forfeiture of that bond. Accordingly, the Alachua County Clerk of Court shall, without

       further order of court, refund this $50,000 cash bond directly to its depositor: Lois N. Herlihy,



                                               Page 10f2
                                                                                        FILED IN OPEN Guu;':; "

                                                                                          (~~              .C.
    Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 119 of 121




      19401 N.W. 10th Street, Pembroke Pines, FL 33029-3214.

      DONE AND ORDERED in chambers at Gainesville, Alachua County, Florida, this   !< G-
day of       O Js:-        ,2001.




                                                 Martha A. Lott
                                                 Circuit Court Judge




copies to:    Gordon H. Groland, Defense Counsel
              Jeanne Singer, State Attorney




                                        Page 2 of2


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                 Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 120 of 121




                                                  BOND INFORMATION



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                                                                fines), YELLOW COPY TO FISCAL.
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     _       Pay S                   to the Oerk of Court .



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CHARGE,       ~14
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                      Case 1:09-cv-00052-MP-GRJ Document 21-6 Filed 03/22/11 Page 121 of 121




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